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                                                                                          FILED
                                                                                      US. DISTRICT COURT
                                                                                  EASTERN DISTRICT ARKANSAS

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION


    GARRY STEWART, M.D.                                                                  PLAINTIFFS

    vs.                                                                 CASE NO.         L./: 17-cv,. 'J~ 8-Bsfil
    ADVAN CED MEDICAL REVIEWS, INC.;
    EXAMWORKS, INC.;                                    This case assigned to District   J~yge   _/f1, JW
    J.D. HAINES, M.D.;                                  and to Magistrate Judge          ~rr1J
    GARY GRAMM, D.O.;
    DAVID CHEN, M.D.; and
    WSANNA BELMAN, M.D.                                                             DEFENDANTS


                                            COMPLAINT


           Plaintiff, Garry Stewart, M.D., by and through his counsel, respectfully comes before this

    court and for his Complaint states:

                                      I. NATURE OF THE CASE

            1.     This case involves a "professional review action," more commonly called peer

    review, involving Dr. Garry Stewart, a member of the Conway Regional Medical Center staff in

    Conway, Arkansas.

            2.     The peer review has been marked by bad faith, deception and manipulation from

    its inception. The abuse reached an extreme point when Defendant Advanced Medical Records,

    Inc. (AMR) and its physician reviewers colluded with Conway Regional by changing their

    external peer reviews on Dr. Stewart from favorable to unfavorable, and in the course of doing so

    defamed him and accused him of euthanasia.

            3.     This case represents abuse and manipulation of the peer review process and

    malicious conduct toward Dr. Stewart that has damaged his reputation and livelihood, interfered



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     with his physician-patient relationships, and placed his career in jeopardy. Without redress, this

     case also is likely to have a chilling effect on other physicians who provide palliative care in this

     state if they were to see a fellow physician's career ruined over how he chose to provide the

     comfort and compassion patients deserve at the end of life.

                              II.      JURISDICTION AND VENUE

              4.     The United States District Court has jurisdiction of this matter pursuant to 28

     U.S.C. § 1332. There is diversity of citizenship among the parties, and the amount in

     controversy far exceeds $75,000.00, exclusive of interest and costs.

              5.    Venue is proper in the United States District Court, Eastern District of Arkansas,

     Western Division, pursuant to 28 U.S.C. § 1391.

                                         III.    THE PARTIES

              6.     Plaintiff Garry Stewart, M.D., is a resident of Conway, Faulkner County,

     Arkansas, and practices medicine in Faulkner County. Dr. Stewart is a board-certified family

     physician, with 10 years of experience in palliative medicine.         He has been licensed as a

     physician since graduating from the University of Arkansas for Medical Sciences in 2001.

              7.    Advanced Medical Reviews, Inc. (AMR) is a California for-profit corporation. It

     provides external peer review and other services to hospitals, insurers and other healthcare

     clients across the nation.

              8.    Exam Works, Inc. is a for-profit Delaware corporation that provides external peer

     review and other services to hospitals, insurers, and other healthcare clients across the nation.

     ExamWorks acquired AMR on or about January 19, 2016, for a cash purchase price of $30

     million and is liable for all conduct of AMR and its network physicians during the time period

     described in this Complaint.


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        9.     J.D. Haines, M.D., is a licensed physician residing in Coleville, California. Upon

information and belief, he is no longer found to be board certified on the American Board of

Family Medicine or American Board of Medical Specialties websites, with his American Board

of Family Medicine Board Certification apparently expiring on December 31, 2016. He is a

professional expert witness in family practice and urgent care medicine for plaintiff and defense

lawyers. Dr. Haines conducted the external reviews of Patients D, E, F and G as a network

physician of AMR.

        10.    Gary Gramm, D.O., is a licensed physician residing in Loomis, California. His

curriculum vitae states that he is board certified. However, upon information and belief, he is

not found to be board certified by the American Board of Medical Specialties. The American

Osteopathic Association indicates that he is certified by that organization, but not board certified.

He practices general family medicine, laser and cosmetics, and performs physicals for employees

under Department of Transportation rules and FAA rules for airline pilots. Dr. Gramm wrote the

review of Patient A as a network physician of AMR.

        11.    David Chen, M.D., is a licensed physician residing in Livingston, New Jersey.

He is board certified in family medicine. He works as a part time medical director for a minute

clinic, two family practice clinics, and an occupational health center. Dr. Chen conducted the

external review of Patient B as a network physician of AMR.

        12.    WSAnna Belman, M.D., is a licensed physician residing in Forrest Hills, New

York. She is board certified in internal medicine and a full time hospitalist. Dr. Belman

conducted the external review of Patient C as a network physician of AMR.




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                              IV.     CO-CONSPIRATORS

         13.   Conway Regional Medical Center ("Conway Regional" or "Hospital") is an

Arkansas nonprofit corporation with its principal place of business in Conway, Faulkner County,

Arkansas.

         14.   Tonya Gierke is a registered nurse and attorney who worked for Conway

Regional as a compliance officer and is now employed as an attorney in Little Rock, Pulaski

County, Arkansas. She resides in Conway, Arkansas.

         15.   Matt Troup is the Chief Executive Officer of Conway Regional, employed by

CHI St. Vincent under a management agreement between CHI St. Vincent and Conway

Regional. He resides in Little Rock, Arkansas.

         16.   Catholic Health Initiatives (CHI) is a nonprofit corporation headquartered in

Englewood, Colorado, doing business in Arkansas and other states.

         17.   CHI St. Vincent is a regional health network serving Arkansas and is part

of Catholic Health Initiatives. It had a contractual agreement with Conway Regional to manage

the Hospital and employ its top executives, including Matt Troup, CEO, at all times relevant to

this action.

                                        V.       FACTS

                                                       A. Dr. Stewart

         18.   Dr. Stewart has held medical staff privileges at Conway Regional for 12 years.

         19.   Dr. Stewart owns and operates Valley Health Services, a family practice clinic in

Conway.




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        20.    Dr. Stewart is a staff physician for the Conway Human Development Center,

responsible for after-hours medical care and hospital admissions for the 500-bed state-run facility

for individuals with severe developmental disabilities.

        21.    Dr. Stewart is the Medical Director for the Faulkner County Detention Center,

which provides institutional care for over 300 inmates.

        22.    Through his clinic, the Conway Human Development Center, and the jail, Dr.

Stewart sees approximately 9,800 patients a year.

        23.    Dr. Stewart has longstanding and ongoing physician-patient relationships with

many of these individuals.

        24.    In addition to his end of life treatment for patients at Conway Regional and other

hospitals, Dr. Stewart has extensive specialized experience in palliative medicine and end of life

care. He served for six years as Medical Director for a hospice facility in Arkansas where he was

in charge of a "general inpatient" unit, which is hospice care for the most medically complex

patients who cannot be cared for at home.

        25.    Dr. Stewart and Conway Regional have a long history of disagreements over

matters of public policy, including the role of advanced nurse practitioners and the corporate

practice of medicine by hospitals, as well as his continued efforts to protect the role of the

medical staff from encroachment by hospital administration and business interests.

                                   B.       Peer Review Laws

        26.    The federal Health Care Quality Improvement Act, 42 U.S.C. 11111 through

11115, and the Arkansas Peer Review Fairness Act, 20-9-1301 through 1313, govern

"professional review activities," commonly called peer review, of physicians in hospital settings.




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           27.   Under both statutes, "professional review activity" means any activity to

determine whether an individual physician may have clinical privileges at a particular hospital, to

determine the scope of conditions of such privileges, or to change or modify such privileges.

           28.   A "professional review action" means an action or recommendation of a

professional review body that is taken or made in the course of a professional review activity.

           29.   These activities and actions are commonly called peer review.

           30.   In medicine, peer review is intended to be the objective evaluation of the quality

of a physician's performance by physician colleagues, sometimes by colleagues within the same

hospital, sometimes by external colleagues.

           31.   The usual and customary standards for physician peer reviewers are

distinguishable from the medical-legal method of identifying negligence and assessing liability.

Physician peer reviewers are to examine only the variance from accepted clinical standards.

They are to provide an objective clinical evaluation. The reviewer's credentials should be

disclosed, and they should be at least equal to or superior to that of the physician reviewed.

           32.   A sham or malicious peer review occurs when other physicians or hospital

administrators use peer review to harm a doctor for personal, economic or other non-medical

reasons.

                                             C.   Patient A

           33.   The peer review in this case was initiated by Conway Regional to review end of

life care provided by Dr. Stewart to Patient A.

           34.   Patient A was a long-time patient of Dr. Stewart's. Patient A had multiple and

serious chronic medical conditions. Patient A was admitted to Conway Regional in May 2016,

and transferred to the Critical Care Unit.



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         35.    Despite aggressive treatment from the care team under the direction of a

pulmonologist, Patient A could not be weaned from life support.

         36.    Patient A's family made the difficult decision to remove artificial ventilator

support and allow Patient A to die, specifically stating that they did not want Patient A to suffer

and struggle to breathe.

         37.    Patient A passed away with Dr. Stewart and family at her bedside.

                        D.      Palliative Medicine and End of Life Care

         38.   "Palliative care" or "palliative medicine" is care that anticipates, prevents and

relieves suffering for patients at any age and at any stage in a serious illness or condition,

whether that illness is curable, chronic or life-threatening.

        39.    Palliative care is provided through hospice, but is also provided in other settings,

including an intensive or critical care unit, as in the case of Patient A.

        40.    Dr. Stewart is not board-certified in hospice and palliative medicine, which is a

subspecialty, but he started practicing palliative care in a hospice facility before the American

Board of Medical Specialties recognized hospice and palliative medicine as a subspecialty in

2006 and has extensive experience in that area.

        41.    Palliative care is still evolving with no clear guidelines on the administration of

end of life medications.

        42.    Palliative care is required for patients when they or their families choose to

discontinue life support and remove them from a mechanical ventilator.

        43.    Patients who cannot breathe on their own rely on life support provided by the

ventilator through an endotracheal tube that is inserted through the mouth into the lungs.

        44.    Extubation refers to removal of the endotracheal tube.



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        45.    Extubation is the final step in liberating a patient from mechanical ventilation.

        46.    When a patient has failed attempts to wean from the ventilator and breathe on

his/her own, the patient or family may choose to have the endotracheal tube removed and allow

the process of dying to take place.

        47.    Without medication, the patient will suffer an agonizing and horrific death,

gasping for air, experiencing unmanageable pain and distress.

        48.    The standard of care is the use of medications, including opioids and

benzodiazepines, to anticipate and prevent suffering from the ventilator withdrawal.

        49.    There are considerable discrepancies and variations among health-care

professionals in the way that life-sustaining therapy is withheld or withdrawn.

        50.    Each patient is different. There is no "one size fits all" dosage recommendation.

        51.    The maximum dose is the amount it takes to ensure the patient does not

experience pain or suffering.

        52.    The Principle of Double Effect states that it is acceptable for medications to be

used that may have the potential to hasten death in the setting of terminal illness, provided that

the physician's purpose in using the medications is to address pain or suffering. This principle

has been adopted by the American Medical Association and Arkansas statutory law.

        53.    For a patient who is terminally ill, the physician has an obligation to provide

effective palliative care, including pain control, although it may foreseeably hasten death.

                                E.      The Summary Suspension

        54.    The summary suspension was initiated on May 18, 2016, when Conway Regional

pharmacists Nicole Dyess and Melissa Thomas questioned medications being prescribed that

morning by Dr. Stewart for Patient A.



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         55.    Later that day, Conway Regional summarily suspended Dr. Stewart's medical

staff privileges over the telephone, invoking Section 6.3 of the Medical Staff Policies and

Procedures.

         56.    Dr. Stewart was given no advance warning before the call suspending him.

         57.    When asked for clarification of the concerns, he was repeatedly told his questions

were not germane.

         58.    At the time of his summary suspension, Dr. Stewart had not been allowed to

finish his own documentation on Patient A's care and has not been afforded that opportunity as

of the date of this filing.

         59.    The suspension related to all aspects of his privileges: "admitting patients,

consulting on patients, and ordering any Outpatient Tests, such as labs or imaging," as stated in a

May 19, 2016 letter.

                              F.   First Credentials Committee Meeting

         60.    Under the Medical Staff Bylaws, a summary suspension must be ratified by the

Credentials Committee within ten days.

         61.    On May 25, 2016, one week after the summary suspension, a meeting of the

Credentials Committee was called under Section 6.3.l.

         62.    At Conway Regional, the Chief of Staff appoints members of the committee. The

committee reviews physician credentials and is charged with acting as an investigative body that

reports and makes recommendations to the Medical Executive Committee.

         63.    The minutes reflect that 11 people attended the meeting: Five of the six members

of the Medical Staff Credentials Committee, along with: Mr. Troup, the Hospital CEO; Dr.

France, Chief of Staff; and Dr. Hardin, Chairman Primary Care (the three who made the



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decision to suspend Dr. Stewart); and the following Hospital administrators: Rebeka Fincher,

Corporate Director of Physician Relations and Business Development; Margaret Corbett,

Corporate Director of Quality Resources; and Tonya Gierke, the Compliance Officer.

         64.    A memo that Dr. Stewart had not seen containing the Hospital's version of events

was provided to the committee. It did not identify the author, and Matt Troup, CEO, would not

identify the author when later requested by Dr. Stewart, but it has since been revealed to be

Tonya Gierke, the Compliance Officer at the time.

         65.    Mr. Troup and Drs. France and Hardin gave their version of events, and Ms.

Gierke discussed events and went over the memo, all outside the presence of Dr. Stewart.

         66.    The meeting had been in progress for some time when Dr. Stewart was allowed

an informal "interview."

         67.    Dr. Stewart had been afforded only 30 minutes time in the presence of the

Hospital Pharmacy Director, and simultaneous to the time of the Credentials Committee meeting,

in which to review Patient A's records.

         68.    The only portion of the Credentials Committee meeting that was recorded and

transcribed by a court reporter was Dr. Stewart's interview. The remainder of the meeting was

held outside Dr. Stewart's presence with only minutes to reflect what was discussed.

         69.    During Dr. Stewart's interview, at no time did any member of the Credentials

Committee articulate the accepted clinical standards for medication administration during

ventilator withdrawal or what Dr. Stewart should have done differently in this case.

         70.    Conway Regional has no Critical Care or Palliative Care Committee and no

protocols for end of life treatment, and none of the members of the Credentials Committee had

expertise in this area.



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         71.   After Dr. Stewart's interview, the other attendees continued to discuss the case

outside of Dr. Stewart's presence.

         72.   The minutes reflect that despite two calls by the Hospital administration to the

family of Patient A, the family had no complaint regarding Dr. Stewart's care for Patient A

         73.   Invoking, Bylaws Section 6.3.6 (Deferral), the Credentials Committee voted to

continue the summary suspension pending "external review of Dr. Stewart's patients who have

died in the past 90 days."

                        G.       Second Credentials Committee Meeting

        74.    On June 1, 2016, the Credentials Committee met again and ratified the summary

suspension "pending further proceedings," specifically an external review for all of Dr. Stewart's

patients who had died within the previous 90 days.

        75.    By that time, however, Conway Regional administration had already contracted

with AMR for an external review, and they knew that that the opinions had come back in Dr.

Stewart's favor, which they hid from the Credentials Committee. (See Section H).

        76.    On June 1 and 2, 2016, Mr. Troup, the CEO, sent Dr. Stewart letters stating that

the decision of the Credentials Committee constituted an "adverse action," triggering Dr. Stewart

to rights under Section 7: Fair Hearing Procedures.

        77.    In a letter dated June 23, 2016, Mr. Troup sent Dr. Stewart a notice that a hearing

was to be held August 3, 2016.

        78.    The Hospital's June 23 letter also reminded Dr. Stewart of the pending external

review, stating that they would send him copies of the reports after they had "received and

evaluated the results," and that the reports "may" be introduced at his hearing.




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         79.   Dr. Stewart objected to the use of the external review for a number of reasons and

stated: "We cannot adequately prepare for a hearing not knowing which if any other cases will be

presented to the committee." He requested that the August 3 hearing be confined to Patient A

and exclude the AMR reports, but the Hospital refused.

                             H.      The External Review by AMR

        80.    On July 8, 2016, Mr. Troup sent Dr. Stewart the external review reports.

        81.    The review was conducted by physicians employed or contracted by Defendant

Advanced Medical Review, Inc. ("AMR"), which entered into a contract with the Hospital

(Exhibit A) to review Dr. Stewart.

        82.    Contrary to Conway Regional's standard practice, the Hospital administration did

not permit Dr. Stewart to participate in the selection of an external reviewer or even to object to

the reviewers chosen.

        83.    The Hospital did not provide Dr. Stewart with a copy of what it provided the

reviewers.

        84.    Ms. Gierke informed AMR that the reviews were for purposes of "an

investigation by the credentialing committee," thus AMR had full knowledge of the impact its

review would cause.

        85.    Contrary to the Credentials Committee's decision, the reviews the Hospital

requested of AMR were not on the 12 patient deaths within the last 90 days.

        86.    Nor were the patients randomly selected to achieve a representative sample.

        87.    Instead, in addition to Patient A, the Hospital administration, led by Tonya

Gierke, Compliance Officer, selected 13 more cases dating as far back as January 2014 without

consulting the Credentials Committee or asking for selection criteria.



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        88.       All the patients had been in the Critical Care Unit (CCU) at Conway Regional,

and they or their family members had chosen to withdraw ventilator life support under the care

of Dr. Stewart.

        89.       The Hospital first entered the patient medical records for 12 of the 14 cases into

the AMR portal on May 27, 2016, and the reviewers rendered their reports May 30 and 31, 2016

except for one finished on June 3,2016.

        90.       In an email dated May 26, 2016, Ms. Gierke apprised AMR before the reviews

were done that she had written a note asking the physicians to be "reviewing in particular the

treatments/meds given in the 24 hours leading up to death."

        91.       In addition, the peer review request that Ms. Gierke submitted to AMR asked

each reviewer to address medications with the following question: "Did the type, amount, and

frequency of medications given within the 24 hours prior to the time of death, hasten and/or

cause the patient's demise?"

        92.       All 12 reviews came back in Dr. Stewart's favor.

        93.       On May 31, 2016, as soon as Ms. Gierke saw that the reports were favorable, she

contacted AMR in an email labeled "IMPORTANT," stating: "I do not think that the reviewer

read our medical records correctly."

        94.   Ms. Gierke told AMR in a subsequent May 31, 2016 email that "What's obvious

is that they [the reviewers] said 'no medications were given' and there were LOTS of

medications given."

        95.   Ms. Gierke's statement to AMR was false in that no reviewer said that no

medications were given nor any words to that effect.




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         96.   All of the reviewers answered no to the question Ms. Gierke submitted about the

medications hastening or causing death.

        97.    Ms. Gierke is a nurse and not a physician and is not qualified to evaluate Dr.

Stewart's care or determine what is too much or too little medication in this situation.

        98.    During May and June 2016, Ms. Gierke engaged in emails, phone calls and other

communications with AMR executives and physicians to convince them to revise the opinions.

        99.    AMR and Ms. Gierke conducted Go2Meeting sessions, using "screen sharing" to

jointly access the AMR portal and discuss the cases, all without the knowledge of Dr. Stewart or

the Credentials Committee.

        100. Mr. Troup, the Hospital CEO, participated and furthered the effort to change the

AMR reports, as evidence by a June 8, 2016, email in which Ms. Gierke told AMR: "I spoke

with our CEO this morning and I was wondering if we can chat today about the

reviewer/process. We have some of the cases re-loaded but I want to give you some more

background."

        101. Ms. Gierke stated falsely in an email to AMR that the reviewers said no

medications were given, and she told AMR staff she was sending "screenshots to assist the

reviewers."

        102. Ms. Gierke proceeded to write memos to five AMR reviewers who wrote reports

on six of the cases, asking them to "re-open" their reviews.

        103. Ms. Gierke's memos contained factual misrepresentations including an erroneous

medication timeline for at least two patients, attached "screenshots" of selected pages from the

medical records, and were full of subjective language and conclusory statements.




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         104. Ms. Gierke sent the "screenshots" even though she had previously sent the entire

medical record for each patient.

         105. Ms. Gierke personally spoke by telephone with at least two of the AMR

reviewers, including Dr. J.D. Haines.

         106. Ms. Gierke went a step further and withheld payment from AMR until the

opinions were revised.

        107. Specifically, on June 2, 2016, she stated in an email to AMR, "I would like to put

a hold on this invoice until we are mutually agreeable that the review was properly done."

        108. Ms. Gierke stated that she expected the revised reviews to be completed before

AMR's invoice was due on June 30.

        109. Four of the five AMR reviewers then amended their previously favorable

opinions to unfavorable. One reviewer apparently declined to participate in the "re-opening."

        110. The AMR reviewers used words such as "addendum following additional clinical

information" in their revised reports when in fact there was no additional clinical information

provided. All of the records had been provided the first time.

        111. The only new information provided to the reviewers was Ms. Gierke's

communications.

        112. On June 22, 2016, Ms. Gierke obtained special permission from AMR to solicit

Dr. J.D. Haines to review two additional cases on patients whose deaths occurred in January

2014 and January 2015.

        113. Upon information and belief, Gierke selected Haines because his revised opinions

were the most critical of Dr. Stewart. She also had spoken with Dr. Haines by phone and

described him in an email as "very vocal" about his concerns.



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        114. Through Ms. Gierke's contacts with Dr. Haines and AMR, the Hospital secured

two more unfavorable reviews of Dr. Stewart.

        115. Dr. Haines turned the two additional reports around in one day's time and two

days' time respectively, despite the existence of voluminous medical records.

        116. AMR billed the Hospital for $24,078 for the reviews on two separate invoices.

        117. The first invoice (#107569160531) dated May 31, 2016, for $16,090 was held and

not paid until after AMR' s physicians revised the reviews to unfavorable opinions. Another

invoice (#107569160630) for $7,988.00 was billed by AMR for what appears to be additional

charges on the revised reviews as well as the two additional submissions to Dr. Haines.

        118. All of this activity was kept secret from Dr. Stewart and the Credentials

Committee, and most of it was obtained only after a Motion to Compel was granted by Faulkner

County Circuit Court in connection with a Motion for Preliminary Injunction that Dr. Stewart

filed against Conway Regional.

        119. The revised reports included misrepresentations and arguments made by Ms.

Gierke, and in the case of reviewer Haines, also included defamatory statements accusing Dr.

Stewart of euthanasia.

        120. The Hospital administration provided only the seven unfavorable reports to the

Credentials Committee. It did not provide the favorable reports to the Committee.

        121. In a July 6, 2016, memo to the Credentials Committee, Ms. Gierke stated that

"The initial reports were returned with conflicting information. (Reports stated that the patients

didn't receive any medications prior to death when the medical records indicate that opioids and

sedatives were administered.)" This statement was false. The initial opinions all found that there

was no harm caused by the type, amount, or frequency of medications given.



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        122. Ms. Gierke knew such statements were false, as evidenced by the fact that in her

memos to the reviewers themselves asking them to "re-open" their reviews, she did not assert

that they had stated no medications were given, but instead stated that she believed they had a

"misperception" about the medications.

        123. Contrary to professional medical review standards, AMR did not identify the

reviewers; they were anonymous, identified to Dr. Stewart only by their state, specifically "NC,"

"NY," "NJ" and "CA."

        124. The reports provided no credentials for the reviewers other than specialty.

        125. Even a cursory review of the reports reveals that Dr. Haines provided opinions

and made statements that breach the standards of professional reviewers, with multiple false,

malicious and defamatory statements, including inferences to Dr. Stewart's state of mind and

outrageous accusations of criminal intent.

        126. The negative reports from AMR and its physicians reflect a deliberate effort to

make the opinions match what Conway Regional wanted them to say without regard to the facts.

The reports directly contradict their initial reports even though no additional information was

provided other than Ms. Gierke's memos and "screenshots." They also repeat Ms. Gierke's

misrepresentations and mischaracterizations, indicating that the goal was to match what Conway

Regional wanted them to say, not the facts.

        127. The key question Ms. Gierke sent each reviewer was: "Did the type, amount, and

frequency of medications given within the 24 hours prior to the time of death, hasten and/or

cause the patient's demise?"

        128. Dr. Gramm answered that the medications administered by Dr. Stewart "had the

potential to" hasten death, and Dr. Chen said they "may have contributed" to hastening. Dr.



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Haines and Dr. Belman went further and said that Dr. Stewart hastened and/or caused the deaths,

and therefore fell below the standard of care.

         129. The standard of care is not whether the physician hastened death. Instead, the

standard is whether the physician fulfilled his "obligation to relieve pain and suffering and to

promote the dignity and autonomy of dying patients . . . even though it may foreseeably hasten

death." American Medical Association (AMA) Code of Medical Ethics Opinion 2.20.

         130. This is known as the Principle of Double Effect and is supported consistently by

major medical organizations including the AMA and the American Academy of Hospice and

Palliative Medicine.

         131. In addition, several studies have shown that opioids used in end of life care do not

hasten death, and in fact, studies show that they actually prolong death.

         132. Dr. Haines in particular lost all semblance of professionalism or objectivity, using

terminology such as "negligent and potentially criminal administration," "negligent

administration," "grossly negligent," "fatal doses," "reckless," "intentional drug overdose," and

"fatal cocktail." He went beyond all bounds when he accused Dr. Stewart of "euthanasia" and

stating that he "caused" the death or demise of patients.

         133. Dr. Belman also represented that the medications Dr. Stewart prescribed "poses

the risk ... of questionable euthanasia."

         134. Dr. Haines and Dr. Belman have never spoken to Dr. Stewart, were not present

when the patients were taken off the ventilator, and had no basis on which to represent his

intentions.




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         135. Contrary to the statement and inferences by the AMR reviewers, opioids and

benzodiazepines are NOT recommended for use in countries that allow euthanasia because they

are not effective for that purpose.

         136. Dr. Stewart acted at all times with the best interests of his patients in mind. He

had longstanding connections with all seven patients.

         137. Each patient had a unique relationship with Dr. Stewart as their physician. He

treated them, joked with them, and knew their insecurities, preferences, and life goals. He

interacted with their family members and honored their wishes when it came time for the

difficult decision of whether to let their desperately ill family member go or keep them alive on a

ventilator.

                            I.        Events After the External Review

         138. After receiving the external review reports, Dr. Stewart, through his counsel in a

letter dated July 11, 2016, immediately notified Mr. Troup of serious concerns about the AMR

external review, including the secretive process, the departure from past practice at Conway

Regional, the use of cases outside the 90 days ordered by the Credentials Committee, and the

unprofessional nature of the AMR reports.

         139. In his July 11 letter, Dr. Stewart requested that the external review be destroyed

and the process begin anew, but the Hospital refused.

         140. Dr. Stewart and the Hospital postponed the August 3 hearing date, and Dr.

Stewart filed his original Complaint and Motion for Preliminary Injunction against Conway

Regional in Faulkner County Circuit Court on July 1, 2016.




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                               J.        National Practitioner Data Bank

         141. The minutes of the Credentials Committee's May 25, 2016 meeting reflect that

the Committee was informed that any disciplinary action extending beyond 30 days must be

reported to the National Practitioner Data Bank ("NPDB" or "Data Bank").

         142. As a professional peer review entity, AMR certainly knew this as well.

         143. By refusing to accept the initial favorable reviews from AMR that were provided

within the initial 30 days, the Committee's actions ensured that Dr. Stewart would be reported to

the Data Bank, which the Hospital did on July 1, 2016

                               K.        Arkansas State Medical Board

         144. The report to the Data Bank then triggered a report to the state Medical Board,

which began an inquiry.

         145. The inquiry was placed on hold pending further developments in the state court

proceeding by Dr. Stewart against Conway Regional.

                          L.         Healthcare Insurer Provider Networks

        146. The report to the National Practitioner Data Bank also affects a physician's

privileges with healthcare insurers.

        14 7. One insurer sent Dr. Stewart a notice to terminate him from its networks effective

August 5, 2016, affecting approximately 25 percent of Dr. Stewart's income.

        148. Dr. Stewart is still working to defend his status with that insurer, which is

requiring ongoing reporting at this time.

                                    V.    CLAIMS FOR RELIEF

        149. The Defendants' actions constitute civil conspiracy, defamation, and tortious

interference, as described in more detail below.


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         150. The Defendants intentionally and with malice pursued a course of conduct for the

purpose of causing damage to Dr. Stewart.

         151. If Defendants had not revised their opinions at the behest of Conway Regional,

Dr. Stewart's suspension would have been lifted on or about June 1, 2016, well within 30 days of

the initiation of the suspension on May 18, 2016, which means that he would not have been

reported to the National Practitioner Data Bank.

         152. If he had not been reported to the Data Bank, he would not be defending himself

over the peer review with insurers and the Medical Board.

         153. All of this was entirely foreseeable by Defendants as a natural and probable result

of their conduct in issuing extreme, malicious, and defamatory statements about a physician

under peer review.

         154. The harm to Dr. Stewart's career, earnings, reputation and relationships with his

patients is continuing to this day and will continue to worsen unless this court orders relief.

                                      CIVIL CONSPIRACY

        155. Under Arkansas law, the tort of civil conspiracy occurs when a combination of

two or more persons act to accomplish a purpose that is unlawful or oppressive or to accomplish

some purpose, not in itself unlawful or oppressive or immoral, by unlawful, oppressive or

immoral means, to the injury of another.

        156. The facts described above establish AMR and the four AMR reviewers conspired

with Conway Regional, Tonya Gierke and Matt Troup for unlawful, oppressive and immoral

purposes.

        157. Specifically, they conspired to deprive Dr. Stewart of his staff privileges,

reputation, and medical license through a bad faith peer review conducted in violation of the



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federal Health Care Quality Improvement Act and the Arkansas Peer Review Fairness Act; to

defame him with allegations that he euthanized and "caused the death" of multiple patients; and

to interfere with his physician-patient relationships.

         158. In addition to the purposes being unlawful, oppressive and immoral, the means by

which the Defendants acted was oppressive and immoral. Among other facts, co-conspirators

Conway Regional, Ms. Gierke and Mr. Troup withheld the favorable external reviews from the

Credentials Committee and Dr. Stewart, misrepresented the contents of the external reviews,

coerced and worked with AMR to re-open the reviews, engaged in a strategic campaign of

emails, web sessions and phone calls to orchestrate a change in the AMR physicians' reviews,

and held up payment to AMR until the reviews came back unfavorable.

        159. AMR and four of its network physicians participated in the conspiracy by

engaging in numerous and extensive communications with Conway Regional administrators

outside the presence or knowledge of Dr. Stewart, revising their physician opinions to match

what Conway Regional wanted, and by making false statements about Dr. Stewart.

        160. AMR had full knowledge of the purpose for which Conway Regional wanted the

external review, how the reports would be used, and the inevitable impact they would have.

        161. The conspirators' actions have damaged Dr. Stewart's reputation by causing the

Credentials Committee to have concerns about his professional competence and creating doubt

as to his professional competence among those who have read or heard about the reports or

suspension.

        162. As a result of the conspirators' actions, the Credentials Committee has refused to

lift the suspension and allow Dr. Stewart to practice at Conway Regional, fueling speculation




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among members of the Hospital staff, members of the community and others that he euthanized

or killed patients.

          163. Dr. Stewart has been damaged further in that the continued suspension means he

cannot admit or treat patients in the Hospital or even order tests to be performed there, causing

significant lost income far in excess of the amount required for diversity, and disruption of

physician-patient relationships.

          164. The. ongoing suspension also has cost him extraordinary fees and ongoing legal

expenses as he works to defend himself with insurers and with the Medical Board, which was a

natural and probable result of the conspiracy.

         165. The harm caused to Dr. Stewart's reputation, career, earnings and relationships is

ongomg.

                                        DEFAMATION

         166. Above and beyond the lost income, Dr. Stewart has suffered particular

reputational damage through defamation.

         167. According to the Arkansas Medical Practices Act, a physician may "administer a

large dose of a dangerous or controlled drug even if its use may increase the risk of death if the

purpose is not to cause or assist in a patient's death." Ark. Code Ann. 17-95-704(d)(5).

         168. According to the Arkansas Medical Practices Act, euthanasia does not include

"prescribing, dispensing, or administering medical treatment for the purpose of alleviating pain

or discomfort even if that use may increase the risk of death so long as the treatment is not

furnished for the purpose of causing or assisting in causing the death of the individual." Ark.

Code Ann. 17-95-704( e)( 4)(B ).




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          169. According to the American Medical Association Ethical Opinion 2.20

(Withholding or Withdrawing Life-Sustaining Medical Treatment), "Physicians have an

obligation to relieve pain and suffering and to promote the dignity and autonomy of dying

patients in their care. This includes providing effective palliative treatment even though it may

foreseeably hasten death."

          170. In all of the cases reviewed by AMR physicians, Dr. Stewart acted within these

legal and ethical boundaries.

          171. The statements made by the AMR reviewers and in particular, J.D. Haines, M.D.,

deliberately ignore the standard of care and the ethical duties of physicians providing such care.

                 A.     Defamation regarding Dr. Stewart's care of Patient D

          172. On or about May 27, 2016, Conway Regional referred patient D to AMR for

review.

          173. Defendant Haines, on behalf of AMR, performed the external review of patient D.

          174. On May 30, 2016, Dr. Haines provided a favorable review of Dr. Stewart's care.

          175. Subsequently, on or about June 6, 2016, Tonya Gierke, the Conway Regional

compliance officer, requested in a memo that Dr. Haines "re-open" the review.

          176. Ms. Gierke's memo to Dr. Haines contained misrepresentations, subjective,

opinionated statements and attached "screenshots" from selected parts of the medical record, all

signaling the result she wanted Dr. Haines to reach. The memo also contained a crucial factual

misrepresentation about the timeline of medication administration.

          177. In response to Ms. Gierke's memo, telephone calls and other actions described in

the Facts section above, Dr. Haines changed his favorable review to one critical of Dr. Stewart's

care, including using the crucial factual misrepresentation in Ms. Gierke's memo.



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          178. Dr. Haines' report is full of misstatements and inaccuracies.

          179. The report contains multiple false and defamatory statements, which include the

following:

             a. "The deviation in the standard of care occurred on 2/3/2016 when Dr. Stewart

                 inappropriately ordered multiple IV medications which caused the patient's

                 death . ... "

             b. "This [16mg of Dilaudid over less than two hours] undoubtedly led to

                 respiratory depression resulting in his demise. "

             c. "The Valium also contributed to respiratory depression which led to the patient's

                 death ... "

             d. "The additional orders for Lopressor, Morphine and Cardizem that were not

                 given raise the very possibility that Dr. Stewart intended to commit euthanasia. "

             e. "The negligent and potentially criminal administration of the combination of

                 Dilaudid, Valium and Lopressor in the 1 hour and 39 minutes before the patient's

                 death directly contributed to his death due to respiratory depression. "

             £   The deviation from the current best standard of care resulted in the death of the

                 patient."

             g. "The type, amount, and frequency of medications .... hastened and/or caused the

                 patient's demise. "

                 B.       Defamation regarding Dr. Stewart's care of Patient E

          180. On or about May 27, 2016, Conway Regional referred Patient E to AMR for

review.

          181. Defendant Haines, on behalf of AMR, performed the external review of Patient E.



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          182. On May 31, 2016, Dr. Haines provided a favorable review of Dr. Stewart's care.

          183. Subsequently, on or about June 8, 2016, Tonya Gierke, the Conway Regional

compliance officer, requested in a memo that Dr. Haines "re-open" the review.

          184. Ms. Gierke's memo to Dr. Haines contained misrepresentations, subjective,

opinionated statements and attached "screenshots" from selected parts of the medical record, all

signaling the result she wanted Dr. Haines to reach. The memo also contained a factual

misrepresentation about the amount of medication administered.

          185. In response to Ms. Gierke's memo, telephone calls and other actions described in

the Facts section above, Dr. Haines changed his favorable review to one critical of Dr. Stewart's

care, including using the crucial factual misrepresentation in Ms. Gierke's memo.

          186. Dr. Haines' report is full of misstatements and inaccuracies.

          187. The report contains the following false and defamatory statements:

          a.    The combination of high dose Dilaudid and Versed resulted in respiratory

                depression and arrest."

          b.    The patient's death was caused by negligent administration of high dosages of

                Versed and Dilaudid, resulting in respiratory depression and cardiopulmonary

                arrest."

                 C.        Defamation regarding Dr. Stewart's care of Patient F

          188. On or about June 22, 2016, Conway Regional referred Patient F to AMR for

review.

          189. Defendant Haines, on behalf of AMR, performed the external review of Patient F.

          190. On or about June 21, 2016, Conway Regional compliance officer, Tonya Gierke,

sent a memo to Dr. Haines.



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        191. Ms. Gierke's memo to Dr. Haines contained subjective, opinionated statements

and attached "screenshots" from selected parts of the medical record, all signaling the result she

wanted Dr. Haines to reach. The memo also contained a significant misrepresentation about the

timeline of medication administration.

        192. In response to Ms. Gierke' s memo, telephone calls and other actions described in

the Facts section above, Dr. Haines issues an unfavorable report with multiple false statements

about Dr. Stewart's care, including using the misrepresentation in Ms. Gierke's memo and even

adopting her use of quote marks around the words "comfort care."

        193. Dr. Haines' report is full of misstatement and inaccuracies.

        194. The report includes the following false and defamatory statements:

               a.      "The medical care provided was grossly negligent and resulted in the

        death of the patient. In this reviewer's opinion, the so-called 'comfort measures' were

        merely a euphemism for euthanasia. There can be no clinical rationale that would

        support the administration offatal doses of medication over such a short period of time."

              b.       "The combination of wildly reckless types, amounts and frequencies of

        medications given in the 3 hours prior to the patient's death undoubtedly hastened and

        caused his demise."

              c.       "The patient died secondary to intentional drug overdose from high-dose

        Versed,     Dilaudid   and   Lopressor    secondary    to   respiratory   depression   and

        cardiorespiratory arrest. The fatal cocktail of medications required about 3 hours and 35

        minutes before the patient expired."

              d.       "Deviations from the current best standard of care resulted in the patient's

        death. The standard of care was breached in the administration of Dilaudid, Morphine



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          Sulfate, Versed and Lopressor. None of these medications were indicated in this patient

          and directly led to his demise secondary to respiratory depression and arrest."

                     D.    Defamation regarding Dr. Stewart's care of Patient G

          195. On or about June 22, 2016, Conway Regional referred patient G to AMR for

review.

          196. Defendant Haines, on behalf of AMR, performed the external review of Patient G.

          197. On or about June 21, 2016, Conway Regional compliance officer, Tonya Gierke,

sent a memo to Dr. Haines.

          198. Ms. Gierke's memo to Dr. Haines contained misrepresentations, subjective,

opinionated statements and attached "screenshots" from selected parts of the medical record, all

signaling the result she wanted Dr. Haines to reach. The memo also contained crucial factual

misrepresentations about the timeline of medication administration.

          199. In response to Ms. Gierke's memo, telephone calls and other actions described in

the Facts section above, Dr. Haines issued an unfavorable review of Dr. Stewart's care, including

using the crucial factual misrepresentation in Ms. Gierke's memo.

          200. Dr. Haines' report is full of misstatements and inaccuracies.

          201. The report includes the following false and defamatory statements:

                a.        "[T]he combination of these medications produced an overwhelming

          adverse effect ofrespiratory suppression, resulting in his rapid death. "

                b.        "Inappropriate and negligent administration of Versed, Ativan and

          Morphine directly led to the adverse outcome of suppression of the patient's respiratory

          drive and his death."




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               c.      The type, amount, and frequency of medications (Versed, Ativan, and

        Morphine sulfate) given with the 24 hours prior to the time of death hastened and/or

        caused the patient's death."

                           E.      Additional Evidence of Defamation

        202. Dr. Haines was provided or had access to hundreds of pages of the complete

medical records, but his review indicates he instead relied on the selected facts and opinions of

Tonya Gierke, a non-physician compliance officer at the hospital.

        203. Dr. Haines cited and relied upon published articles with either no relevance to the

care provided in these cases or actually supporting the care provided in these cases.

        204. Dr. Haines acted contrary to the standard of external medical reviewers. Rather

than opining on whether Dr. Stewart met the standard of care, he instead engaged m

unprofessional, speculative and baseless rhetoric with multiple defamatory statements.

        205. Dr. Haines never spoke to Dr. Stewart or asked him any questions, yet stated that

Dr. Stewart intended to euthanize and overdose these patients.

        206. Dr. Haines issued the reports anonymously, with his identity disclosed by the

hospital only after repeated demands by Dr. Stewart's legal counsel.

        207. All of the statements listed above by Defendant Haines are false in that Dr.

Stewart at no time euthanized or caused the death of any patient.

        208. Dr. Haines' statements are defamation per se in that they encompass false

statements that Dr. Stewart is guilty of a crime, i.e., killing a patient, as well as false statements

prejudicing his ability to engage in his profession.




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         209. Dr. Haines either acted with the knowledge of the falsity of his statements or

deliberately failed to determine the truth or falsity of such outrageous statements prior to

publication.

         210. Conway Regional, Tonya Gierke and Matt Troup republished the false AMR

reports to members of the Credentials Committee, which included Dr. Terence Champlin, Dr.

Patrick Fraley, Dr. Phillip Gullic, Dr. Michael Fahr, Dr. Jevin Smith, and Dr. Robert Balentine,

along with CRMC staff including Margaret Corbett, Rebekah Fincher, and, upon information

and belief, to others as well, including the Medical Executive Committee.

         211. Because Conway Regional relied on the AMR reports for Dr. Stewart's continued

suspension, one insurer required Dr. Stewart to turn over a copy of the AMR reports, resulting in

yet further spread of the defamatory statements.

    F.         Harm to Dr. Stewart from the Defamatory Statements in the AMR Reports

         212. The false statements in the AMR reports have damaged Dr. Stewart's reputation

by causing the Credentials Committee to have concerns about Dr. Stewart's professional

competence and creating doubt as to his professional competence among those who have read or

heard about the reports or suspension.

         213. Because of the false statements, the Credentials Committee has refused to allow

Dr. Stewart to practice at Conway Regional, fueling speculation among members of the Hospital

staff, members of the community and others that he euthanized or killed patients.

         214. Families of Dr. Stewart's patients and others who know him in the community

have heard that he "killed some people at CRMC" and "killed somebody."

         215. Any time a physician's privileges to admit patients is revoked, his reputation in

the community and among colleagues is harmed.



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         216. Dr. Stewart has been damaged further in that the continued suspension means he

cannot admit or treat patients in the Hospital or even order tests to be performed there, causing

significant lost income and disruption of physician-patient relationships.

         217. The ongoing suspension also has cost him extraordinary fees and ongoing legal

expenses as he works to defend himself against the effects of defamation at the Hospital, with

insurers and with the Medical Board.

         218. The damages caused by the harm to Dr. Stewart's reputation, career, earnings and

relationships is ongoing.

         219. The false statements are a proximate cause of the damages in that without the

same reports the suspension would have ended, Dr. Stewart's reputation would not have been

harmed, his status with insurers and the Medical Board would not be in jeopardy, and he would

be practicing at the Hospital today.

                                INTENTIONAL INTERFERENCE

        220. As a result of Defendants' bad faith peer review and suspension, Dr. Stewart is

unable to treat his patients while they are in the hospital.

        221. The physician-patient relationship is entitled to exceptional protection. It is forged

m trust, confidence, rapport and intimate knowledge. The relationship develops over time,

through the care and treatment of chronic conditions and traumatic medical emergencies, with

the physician learning the patient's history and exercising professional judgment in evaluating

the patient's complaints and ailments. Strong patient relationships are the underpinning of good

medicine and it is uncontroverted that patients who have long-term relationships with their

doctors have better outcomes.




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            222. Defendants knew that the physician-patient relationship carries an expectancy of

continuing in the future.

            223. Defendants knew that their reports would inevitably interfere with Dr. Stewart's

physician-patient relationship due to the loss of his privileges.

            224. The interference has directly caused Dr. Stewart's harm in that but for

Defendants' bad faith peer review he would be able to treat his patients in the Hospital now and

in the future.

            225. The end result is that Defendants and one co-conspirator have interfered with Dr.

Stewart's physician-patient relationships and deprived Dr. Stewart of income far in excess of the

amount required for diversity jurisdiction.

            226. Defendants' intentional acts have been taken with malice toward Dr. Stewart in an

effort to sever his relationship with his patients.

                           NO IMMUNITY FOR BAD FAITH CONDUCT

            227. The federal Health Care Quality Improvement Act of 1986 ("HCQIA"), provides

qualified immunity to peer review participants. 42 U.S.C. 1112(a).

            228. The Arkansas Peer Review Fairness Act incorporates this provision at Ark. Code

Ann. 20-9-1304(a) and 1308(b)(l).

            229. The immunity applies only to damages, not injunctive relief.

            230. Under both statutes the qualified immunity from damages is lost when peer

review participants do not act in good faith in connection with a peer review activity or action or

furnishing assistance to a peer review body. Ark. Code Ann. 20-9-1313(e); 42 U.S.C. 1112(a) 1•



        1
        To obtain the qualified immunity, peer review participants must act:
       (1) in the reasonable belief that the action was in the furtherance of quality health care,
       (2) after a reasonable effort to obtain the facts of the matter,

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        231. The facts of this case as described above are so egregious that they do not come

close to meeting the requirement of good faith, and thus Defendants are not entitled to immunity.

        232. Because Defendants are not afforded immunity for bad faith conduct, Dr. Stewart

is entitled under both the Arkansas Peer Review Fairness Act and HCQIA to damages, attorneys'

fees, costs and expenses under the causes of action described above.

                                       PRAYER FOR RELIEF

        WHEREFORE, Dr. Stewart respectfully requests the following relief:

        1.       A trial by jury.

        2.      Compensatory damages in excess of the amount required to establish diversity.

        3.      Punitive damages.

        4.      Reasonable attorneys' fees, costs and expenses.

        5.      All other just and proper relief to which Plaintiff is entitled or to which he may

become entitled during the pendency of this litigation.


                                                              Respectfully Submitted,
                                                              Mitchell, Blackstock, Ivers & Sneddon, PLLC
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                                                     By:                      .~. pl,,Lfl~;,
                                                              fanet L. Pulliam, ABN 79233
                                                                   ounsel
                                                              Attorney for Garry Stewart, MD.


       (3) after adequate notice and hearing procedures are afforded to the physician involved or after such other
       procedures as are fair to the physician under the circumstances, and
       (4) in the reasonable belief that the action was warranted by the facts known after such reasonable effort to
       obtain facts and after meeting the requirement of paragraph (3).
       42 U.S.C. l l l 12(a).



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         Advanced Medical Reviews
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              ·-··--- ·-··-------·--·--·-·--------------·-·   -----------·-- ·-------·--·--------··· -·. ----------- ------
                                                                                AGREEMENT

         Advanced Medical Reviews, Inc. ("AMR") is an independent review organization

         This Agreement between AMR and Conway Regional Hospital ("Client') is effective as of the date set forth below (the
         "Effective Date"), and the parties agree as follows:                                        ·

             1.     AMR, as an independent review organization, will provide independent medical review services ("Services") as
                    requested by Client, in accordance with Client's requirements. These Services shall be performed based on the
                    Workflow Schedule set forth in Schedule A.
             2.      AMR and Client agree that all services will be performed according to the fee schedule outlined in Schedule A.
                   · This Agre<;inent shall supplant all previous Agreements and Agreements between AMR and Client. All previous
                     Agreements between AMR and Client shall be considered null and void effective as of the Effective Date as set
                     forth below.     ·
             3.     AMR will provide the agreed-upon Services to Clients through individuals who are members of the AMR Network
                    ("Reviewers").                              .
                    a. AMR will maintain a credentialing progran1 for its Reviewers in order to assure that every Reviewer has a
                        current unrestricted license as applicable.
                    b. AMR will assign each review to a Reviewer within the specialty requested by the Client or within a specialty
                        or possessing the appropriate knowledge or experience to address the subject matter of the review.
             4.     AMR will provide Client with monthly activity reports that detail services provided in a mutually agreed upon
                    format.                            ·
             5.     Client agrees that all present and future communications and business transactions with Reviewers will be made
--....              through AMR
             6. AMR will provide Client with services that will be performed in accordance with both Client's requirements. as
                    outlined on this Agreement, and URAC standards.
             7.     AMR will notify Client in a timely fashion if there is any material change in AMR's ability to perform agreed upon
                    services.
             8.     AMR agrees that Client may, at any time during the term of this Agreement and upon ·reasonable notice, conduct a
                    review and/or audit of AMR's records pertaining to the contracted Services.
             9. If Client identifies specific issues with AM R's perfonuance of contracted Services, Client shall provide AMR with
                    wiitten notification of such. AMR': shall have up to 30 days from receipt of such notice to take actions to correct
                    identified problems to Client's reasonable satisfaction. If .AMR fails to correct identified problems within such time
                    period, Client may elect to terminate this Agreement at ~at time..
             10. AMR Services are not substitutes for medical services. AMR is not responsible for benefit or medical care
                    decisions. All determinations made by AMR are recommendations only, and are not intended to be construed to
                    require any person to have or forgo medical treatment.
             11. Confidentiality
                    a.   Confidential Information. Client understands that during the term of this Agreement, Client will have access to
                         certain of AMR's confidential information, including but not limited to its fees for Services provided, the terms
                         and conditions of this Agreement, Workflow schedules, its password-protected website portal infonnation
                         (including forms and other materials), policies and procedures, and other confidential, proprietary or
                         competitive trade secret infonnation belonging to or in the possession of AMR that is not known to the public,
                         all of which shall be referred to herein as "Confidential Information." Such confidential, proprietary and
                         competitive trade secret information included; but is not limited to, all infonnation in any form relating to the
                         design, function and operation of AMR's products and services, systems and processes, software, organization
                         and staffing and all technical information, lmowledge, flow charts, specifications, design documents, sales and
                         marketing plans and strategies or other documents of any type whether in printed or machine readable form


                  2950 31st St., Ste 100 Santa Monica, CA 90405                 Phone (310) 575-0900                     Fax (310) 470-4717 www.admere.com
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                                                                                                                                                  EXHIBIT

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                            relating thereto. Such Confidential Information shall be protected whether or not it has been marked, stamped
                            or otherwise identified as such by AMR. Client agrees to maintain all such Confidential Information in strictest
                            confidence and not to disclose such Confidential Infomllltion to any third party or person within Client's
                            employ, whether as an employee or independent contractor, without AMR's prior written consent. Client shall
                            not make copies, in whole or in part, of any or all Confidential IOfonnation without the express consent of
                            AMR.
                       b.   If any party breaches any part of this Agreement, the non-breaching party shall be entitled to relief by
                            appropriate legal or equitable means. Further, the parties agree to mutually indemnify each other against any
                            and all claims, losses or liabilities incurred     as
                                                                           a result of the other party's wrongful actions.
                       c.   HIP AA: AMR and Client agree to comply by all applicable state and federal laws and regulations concerning
                            the confidentiality of data. This includes compliance to the applicable Standards under the Health Insurance
                            Portability and Accountability Act (HIPAA) of 1996 and in accordance with the terms set forth in Schedule B
                            hereto.
                   l 2. Conflict   of Interest
                       a.   AMR reviewers will only complete cases in which they do not have a conflict of interest.
                       b.    A reviewer conflict of interest is defined as:
                              i. Reviewer has a material professional, familial, or financial conflict of interest regarding an affected party;
                             ii. Reviewer accepts compensation for review activities that is dependent in any ~ay on the specific outcome
                                 of the case; or
                            iii. Reviewer was involved with the specific-episode of care prior to referral of the case for review
                       c.   The foll<?wing shall not constitute a reviewer conflict of interest:
                             i. Reviewer has a contract to provide health care services to Client's enrollees; and
.---..._                    ii. Reviewer has staff privileges at a facility where the reeommended health care service or treatment would
                               . be provided if Cli.ent's previous non-certification is reversed.
                   13. Termination Clause. This Agreement may be terminated by either party by providing the other party with thirty
                       (30) days prior written notice of its intent to terminate, with or without cause.
                   14. Use of Name; Publicity. Neither party may use the other's name or identity in any advertising, public relations, or
                       publicity without the prior written pem1ission of the o~er.
                   15. General Terms and Conditions.
                       a. Notices. Any notice required or permitted to be given hereunder shall be in writing sent by either personal
                          delivery, overnight delivery, or US registered or certified mail, return receipt requested, all of which shall be
                          properly addressed, with postage or delive char es re ·                         ·         ·     peeti·1e addresses·
                           ·      e ow, or a sue o er addresses as either AMR or Client may hereafter designate to the other in writing.
                          Notices sent by personal delivery shall be deem~ given upon actmll receipt. Notices sent by overnight delivery
                          shall be deemed given on the next business day. Notices sent via United States registered or certified mail shall
                          be deemed given two (2) business days from mailing.
                       b. . Insurance.. Each party shall maintain in existence during the term of this Agreement insurance coverage in a
                            coµunercially reasonable amount that will adequately protect the parties _from claims arising out of the Services
                            requested by Client, including, but not limited to, errors and omission and general liability coverage. Upon
                            request, a party shall proVide the other with proof of such insurance.
                       c.   Assignment. This Agreement and the rights, interests, and benefits hereunder shall not be assigned, transferred_,
                            pledged, or hypothecated in any way by either party, nor shall the duties imposed herein be subcontracted or
                            delegated by either party, without the prior written approval of the other party.
                       d.   Delegation. If AMR delegates organiZational functions, those functions shall be subject to the terms of this
                            Agreement and in accordance with URAC standards. ·
                       e.   Dispute Resolution. Any controversies or claims between the parties regarding this Agreement must first be put
                            in writing and delivered to the other party. The parties shall make a good faith attempt to resolve the issue in
   ---....                  question. If the parties cannot resolve the grievances or disputes between them in an informal and expeditious


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                                 fashion, one or both of the parties may pursue legal action as deemed appropriate and necessary. The parties
                                 may agree to extend the time for dispute resolution in order to pursue mediation of the dispute.
                           f.    Entire Agreement: Amendment. This Agreement supersedes any and ·an other agreements, either oral or in
                                 writing, between the parties hereto with respect to the services to be provided hereunder. Each party to this
                                 Agreement acknowledges that no representations, inducements, promises, or agreements, orally or otherwise,
                                 have been made by any party, that are not embodied herein or in an exhibit hereto, and that no other agreement,
                                 statement, or promise not contained in this Agreement shall be valid or binding. Any modifications,
                                 amendments, or waivers of this Agreement shall not be effective except if set forth in writing and signed by
                                 both parties.      ;
                           g.    Applicable Law. This Agreement and the rights and obligations of the parties hereunder shall be construed,
                                 interpreted, and enforced in accordance with, and governed by, the laws of the State of California. Any actions,
                                 arbitration or proceedings instituted by either party with respect to any matters arising under or growing out of
                                 this Agreement shall be brought and tried only in the courts located in the County of Los Angeles, State of
                                 California, and each of the parties hereto expressly waives its rights under any applicable statute to cause any
                                 such action or proceeding to be brought or tried elsewhere.
                           h.    Understanding of Agreement. The parties hereto acknowledge and agree that this Agreement has been
                                 negotiated at arm's length and between parties equally sophisticated and knowledgeable in the matters dealt
                                 with in this Agreement. Accordingly, any rule oflaw (including, without limitation, California Civil Code
                                 Section 1654) or legal decision that would require interpretation of any ambiguities in this Agreement against
                                 the party that has drafted it is not applicable and is waived. The provisions of this Agreement shall be
                                 interpreted in a reasonable manner to affect the intent of the parties as set forth in this Agreement.
                                             .                                                .
                           i.    Schedules. All Schedules referenced in this Agreement and attached hereto are incorporated into this
                                 Agreement by reference. In the event of a conflict between a term or conditi~n of this Agreement and that of a
                                 Schedule, the term or condition of the Schedule shall control.
   --....
                           j.    Non-solicitation. During the Term of this Agreement, and for a period of one (1) year after its termination,
                                 Client agrees not to solicit any of AMR 's Reviewers for services .substantially similar to the Services that
                                 Reviewer has provided to Client on behalf of AMR.
                           k.     Independent ContractorS. The relationship between AMR and Client is that of independent contractors.
                                  Neither AMR nor Client is a member, partner, agent, representative, erµployee, employer or joint venturer of
                                  the other. Except as otherwise specified in this Agreement, neither party shall have, nor exercise control or
                                  discretion over, the method by which the other party shall perform such work or render or perfom1 such services
                                · and functions.                      ·

                IN WITNESS WHEREOF, the p~ies have executed this Agreement, as set forth below.

                Advanced Medical Reviews                                           Conway Regional Hospital


                By:
                                . { ). _:-\-(    ~ \~.-?"-·-
                                                                                   By:
                                 (Authorized Signature)                                              (Authorized Signature)

                Printed Nnme:    Vincent J. Bianco                                 Printed Name:

                Title:            President                                        Title:

                Address:         29503l"St.. Ste 10                                Address:

                City/State/ZIP: Santa Monica. CA 90405                             City/State/ZIP:

                Date:             512612016                                        Date:




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                                               SCHEDULE A: WORKFLOW, FEES AND PAYMENT SCHEDULE

                Advanced Medical Reviews, Inc. ("AMR") will provide I11depende~t Medical Review services as requested by Conway
                Regional Hospital ("Client'). AMR shall have no responsibility for any benefit of medical care decisions. All
                determinations made by AMR are recommendations only, and are not intended to be construed to require any person to have
                or forgo medical treatment. AMR services are not substitutes for medical services.
                Client shall submit peer review requests to AMR via fax, mail, web application or email. AMR shall maintain current
                credentialing information for individuals who are members of the AMR Network ("Reviewers") to assure that every
                Reviewer has a current unrestricted license as applicable. AMR shall assign each review to a Reviewer who shall be in an
                appropriate specialty or who shall possess specific knowledge appropriate to the request of the treating provider. AMR will
                post completed peer reviews to a web portal. Client will retrieve the completed reviews via the web portal.
                AMR's serv~ces shall be performed based on Client's requested turnaround times. Turnaround times are calculated from the
                time the request and all related material are received by AMR
                    • ~·Turnaround 1":reviews with a requested turnaround of S business days 1 or greater
                    • "Turnaround. 2": reviews with.a requested turnaround between 3 and S business days 1
                    • "Turnaround 3": reviews with a requested turnaround between 1and3 business days 1

                AMR and Client agree that all services will be performed according to the following fee schedule:
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                . . .   .    ··:   ·.1:                     >     •   '   •   •'I" .

                     lat                                                 $225.00                    $260.00                     s2ss:oo
                    · lat                                                $258.00 .,                 $295.00                   $320.00
     .----...                                                            $285.00                    $330,00                   $355.00
                     lat                                                 $320.00                    $370.00                   $400.00
                    Houri                                        $270.00 per hour           $305.00 oer hour          $405.00 oer hour
                Reviews with up to 100 pages2, up to 3 items3, up to 0 call attempts, and with a requested turnaround greater than or equal to
                1 days 1 will be billed at the flat rates outlined above. Reviews that fall outside any of the above parameters (i.e. reviews with
                greater than 100 pages2, and/or greater than 3 items3, and/or requiring more than o. call attempts, and/or with a requested
                turnaround less than 1 days 1) will be billed at the hourly rates outlined above. All reviews that fall outside the above
                parameters and reviews with requirements n9t detailed above will be billed based the hourly rates outlined above. Reviews
                that exceed fair and customary standards may incur additional fees QS mutually agreed by both parties. Any additional costs
                incurred during the review process, such as shipping, will be paid for by Client Reviews may have a maximum duration4 of ·
                up to 30 business days. Reviews with a duration4 that exceeds 30 business ds.ys will be charged as multiple reviews.
                Reviews that are reopened 10 business days or more after the original completion date will be charged as a separate review.
                Reviews that are·reopeoed within 10 business days of th~ original completion date will be charged ifthe applicable billing
                tier has changed.
                AMR and Client further agree that AMR may adjust the fees set forth above upon thirty (30) days' written notice, which
                notice may be given at any time after two (2) years following the Effective Date herein.

                              Days are defined as "business days" all days excluding Saturday, Sunday and Federal Holidays
                              Hours are defined as "business-day hours" on all days excluding Saturday, Sunday and Federal Holidays
                        2
                              Pages: total count ofall pages ofdocumentation provided to the reviewer
                        J
                              Items: questions, service under review and/or days under review
                        4
                              Duration: the time between when a review is first created and when a review is completed for the last time.
                        5
                              Reviewers: individuals who are members ofthe AMR Network



                AMR will provide monthly invoices to Client. Invoices will be mailed and/or e-mailed to:
       ,--
                             Name:      Tonya Gierke

                            2950 3pt St., Ste 100 Santa Monica, CA 90405 Phone (310) 575-0900 Fax (310) 470-4717 www.admere.com
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                       Address:       Conway Regional Hospital
                                      2302 College Ave
                                      Conway, AR 72034
                       Phone:         501-450-2495
                       Email:         tgierke@conwayregional.org


           Client will be responsible to make payment within thirty (30) calendar days of the invoice date ("Due date"}. Client agrees
           to pay AMR for all services ordered according to these terms, irrespective ofreceiving payment from its client/plan provider.
           A late payment of2% per month will be applied to the total unpaid balance on the account if full payment is not received by
           the due date. Client will mail payment to:                                     ·
                      Advanced Medical Reviews, Inc.
                      2950 3 pt Street Suite #I 00
                      Santa Monica CA 90405


          IN WITNESS WHEREOF, the parties have executed this Agreement, as set forth below.

          Advanced Medical Reviews                                                     Conway Regional Hospital

          By:               {~ _A { ~ (~-::7'----                                      By:
                           (Authorized Signature)
                                                                                                       (Authorized Signature)
..-....   Printed Name:     \nncent       I Bianco                                     Printed Name:
          Title:            Pi:esident                                                 Title:
          Address:         2950 31" St.. Ste LO                                       Address:
          City/State/ZIP: Santa Monica CA 90405
                                                                                      City/State/ZIP: - - - - - - - - - - - - -
          Date:            5/26/2016
                                                                                      Date:




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                                                                      Advanced Medical Review~,, Inc.
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                                   SCHEDULE B: BUSINESS ASSOCIATE AGREEMENT

 This Business Associate Agreement ("Agreement"), is entered into in connection with the Agreement for provision of
 medical review services ("Contract") entered into by and between Conway Regional Hospital ("Covered Entity") and
 Advanced Medical Reviews, Inc. ("Bu~iness Associate") concurrently herewith and is effective upon execution.

                                                             RECITALS
          WHEREAS, Covered Entity wishes to disclose certain information to Business Associate pursuant to the teflTIS of
 the Contract, some of which may constitute Protected Health Information ("PHI"), as defined below;

          WHEREAS, .Covered Entity and Business Associate intend to protect the privacy and provide for the security of
 Pill disclosed to Business Associate in compliance with the Health Insurance Portability and Accountability Act of 1966,
 Public Law 104-191 ("HIPAA"), the Health Information Technology for Economic and Clinical Health Act, Public Law 111-
 005 (the "HITECH Act") and regulations promulgated there under by the U.S. Department of Health and Human Services
 ("HIPAA Regulations"), and other applicable laws; and

           WH~REAS, as part of HIP AA Regulations, the Privacy Rule and Security Rule, as defined below, require that prior
 to disclosure of PHI, Covered Entity enter into a contract with Business Associate containing specific requirements set forth
 herein, including, but not limited to, 45 C.F.R. §§ 164.314(a) 164.502(a) and (e), and 164.504(e);·

          TliEREFORE, in consideration of the. mutual promises contained herein and the exchange ofinformation pursuant
 to this Agreement, the parties agree as follows:
                                                    AGREEMENT
 1.       Definitions. Terms used, but not otherwise defined, in this Agreement shall have.the same meaning as set forth in
 regulations promulgated under HIPAA arid the HITECH Act, as amended from time to time.
         I.I.    Breach shall have the meaning given to such term under the HITECH Act and IDPAAregulations at42
 U.S.C § 17921 and45 C.F.R. § 164.402.
         1.2      Breach Notification Rule shall mean the HIP AA Regulation that is codified at 45 C.F.R. Parts 160 and
 164, Subparts A and D, respectively.
          1.3   Business Associate shall have the meaning given to such term under the Privacy Rule, the Security Rule
 and the HITECH Act including, but not Jimited to, 42 U.S.C. § 17938 and 45 C.F.R. § 160.103.
          1.4       Covered Entity shall have the meaning given to such term under the Privacy Rule and the Security Rule
 including, but not limited to, 45 C.F.R § 160.103.
           1.5      Designated Record Set shall have the meaning given to such tem1 under the Privacy Rule including, but
 not limited to, 45 C.F.R. § 164.501.
          1.6      Electronic Protected Health Information means PHI that is maintained in or transmitted by electronic
 media, as described in 45 C.F.R. § 160.103 ..
           1.7     Health Care Operations shall have the meaning given to such term in the HITECH Act including, but not
 limited to, 45 C.F.R § 164.501.
          1.8      Privacy Ruic shall mean the HIPAA privacy rules codified at 45 C.F.R., Parts 160 and 164, Subparts A
 and E, respectively.
           1.9      Protected Health Information ("PHI") means any information, whether oral or recorded in any form or
 medium, that (a) relates to the past, present or future physical or mental condition of an individual, the provision of health
 care to an individual or the past, present or future payment for the provision of health care to an individual; (b) identifies the
 individual or, with respect to which, there is a reasonable basis to believe the information can be used to identify the
 individual; and (c) has the meaning given to such term under the Privacy Rule including, but not limited to, 45 C.F.R. §
 164.501. PHI includes Electronic Protected Health Information.




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             Advanced Medical Reviews

                       l. l 0   Security Incident shall have the meaning given to such tem1 under the Security Rule including, but not
             limited to, 45 C.F.R. § f 64.304.
                     1.11      Security Ruic shall mean the HIP AA security mle codified at 45 C.F.R. Parts 160 and 164, Subparts A and
            C, respectively.
                     1.12     Unsecured PHI shall have the meaning given to such term under the HITECH Act and any guidance
            issued pursuant to such Act including, but not limited to, 42 U.S.C. § l 7932(h) and 45 C.F.R. § 164.402.
            2.        Obligations of Business Associate.
                    2.1       Permitted Uses. Business Associate shall use PHI solely for the purpose of performing Business
            Associate's obligations under the Contract and as permitted or required under the Contract, this Agreement, or as required by
            law. Further, Business Associate shall not use PHI in any manner that would constitute a violation of the Privacy Rule or the
            HITECH Act if so used by the Covered Entity.
                     2.2     Permitted Disclosures. Business Associate shall disclose PHI only for the purpose of performing
            Business Associate's obligations under the Contract and as permitted or required w1der the Contract, this Agreement, or as
            required by law. Business Associate shall not disclose PHI in any manner that would constitute a violation of the Privacy
            Rule or the HITECH Act if so disclosed by the Covered Entity.
                     2.3      Prohibited Uses and Disclosures. Business Associate shall not use or disclose PHI other than as
            permitted or required by the Contract, this Agreement or as r.equired by law.
                     2.4       Appropriate Safeguards. Business Associate shall i~lement appropriate safeguards, and comply with
            the provisions of 45 C.F.R. Part 164, Subpart C, with respect to electronic PHI, to prevent use or disclosure of PHI other than
            as provided for by this Agreement including, but not limit.ed to, administrative, physical and technical safeguards in
            accordance with. the Security Rule. Business Associate shall comply with the policies and procedures and documentation
            requirements of the Security Rule including, but not limited to, 45 C.F.R. § 164.316.
-                     2.5     Subcontractors and Agents. Business Associate shall ensure that any agents and subcontractors that
            create, receive, maintain or transmit PHI on behalf of Business Associate agree in writing to the same restrictions .and
            conditions that apply to Business Associate with respect to such PHI and implement the safeguards required by Paragraph 2.4
            above.             ·
                      2.6       Access to Protect~d Information. Business Associa.te shall make PHI maintained by Business Associate
            or its agents or subcontractors in Designated Record Sets available to the Covered Entity for inspection and copying within
            five (5) days of a i;equest by Covered Entity to enable Covered Entity to fulfill its obligations under California law, Health &
            Safety Code § 123110, and the Privacy Rule including. but not limited to, 45 C.F.R. § 164.524. If Business Associate
            maintains PHI in electronic fomiat, Business Associate shall provide such infom1ation in electronic format as necessary to
            enable Covered Entity to fulfill its obligations under the HITECH Act and HIP AA Regulations.
                     2.7      Amendment of PHL Within ten (10) days of a request by the Covered Entity for an amendment of PHI or
            a record about an individual contained in a Designated Record Set, Business Associate and its agents and subcontractors shall
            make such PHI available to the Covered Entity for amendment and incorporate any such amendment or other documentation ·
            to enable Covered Entity to fulfill its obligations under the Privacy Rule including, but not limited to, 45 C.F.R. § 164.526.
                     2.8      Accounting of Disclosures-. Within ten (10) days of a request· by the Covered Entity for an accounting of
            disclosures of PHI, Business Associate and its agents and subcontractors shall make available to the Covered Entity the
            information required to provide an accounting of disclosures to enable Covered Entity to fulfill its obligations under the
            Privacy Rule including, but not limited to, 45 C.F.R. § 164.528, and the HITECH Act including, but not limited to, 42 U.S.C.
            § 17935, as determined by the Covered Entity.
                               2.8. l    Retention of Records. Business Associate and its agents and subcontractors shall maintain such
            accounting for at least six (6) years; provided, however, that accounting of disclosures from an Electronic Health Record for
            treatment, payment or health care operations purposes are required to be maintained for at least three (3) years and only to the
            extent that the Business Associate maintains an Electronic Health Record.
                               2.8.2     Information Required. At minimum, the information collected and maintained shall include (a)
--:---...
            the date of disclosure; (b) the name of the entity or person who received PHI and, if known, the address of such entity or
            person; (c) a brief description of PHI disclosed; and (d) a brief statement of purpose of the disclosure that reasonably infom1s

                  2950 31st St., Ste 100 Santa Monica, CA 90405       Phone (310) 575-0900 Fax (310) 470-4717 www.adrnere.com
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         the individual of the basis for the disclosure(s) or a copy of the individual's authorization or a copy of the written request for
         disclosure.
                   2.9      Governmental Access to Records. Business Associate shall make its internal practices, books and records
         relating to the use and disclosure of PHI available to the Covered Entity and to the Secretary of the U.S. Department of
         Health and Human Services ("HHS") for the purpose of determining Business Associate's compliance with HIP AA.
                  2.10    Minimum Necessary. Business Associate and its agents and subcontractors shall request, use and disclose
         only the minimum amount of PHI necessary to accomplish the purpose of the request, use or disclosure." Business Associate
         understands and agrees that the definition of "minimum necessary" is in flux and shall keep itself informed of guidance
         issued by HHS with respect to what constitutes "minimum necessary."
                   2.11     Notification of Breach. Business Associate shall notify Covered Entity within twenty-four (24) hours of
         any (a) suspected or actual breach of PHI; (b) use or disclosure of PHI not permitted by the Contract or this Agreement; (c)
         Security Incident, including attei:npted or successful unauthorized access, use, disclosure, modification or destruction of
         information or interference with system operations in an infom1ation system; and (d) actual or suspected use or disclosure of
         data in violation of any applicable federal or state laws by Business Associate or its agents or subcontractors.
                             2.11. l Contents of Notification. The notification shall include, to the extent possible, the identification
         of each individual whose unsecured P}II has been, or is rwonably believed by the Business Associate to have been,
         accessed, acquired, used or disclosed, as well as any other available information that the Covered Entity is required to in:clude
         in a notification to the individual, the media, HHS and any other entity under the Breach Notification Rule and any other
         applicable state or federal laws.                                                                    ·
                  2.12      Breach Pattern or Practice by Agents or Subcontractors. In accordance with the provisions of 42
         U.S.C. § 17934(b) and 45 C.F.R. § 164.504, ifthe Business Associate knows of a pattern of activity or practice of an agent or
         subcontractor that constitutes a material breach or violation of the agent's or subcontractor's obligations as required under the
         Contract, this Agreement or other arrangement, Business Associate must take reasonable steps to cure the breach or end the
--...
         violation. In the event Business Associate is unable to resolve the breach of violation, Business Associate must immediately
         terminate the arrangement with said agent or subcontractor and notify the Covered Entity of such tem1inatio11.
         3.        Obligations of Covered Entity.
                 3.1       Notification of Limitations. Covered Entity shall notify Business Associate of any limitation(s) in the
         Notice of Privacy Practices of Covered Entity under 45 C.P.R. § 164.520, to the extent that such limitation may affect
         Business Associate's use or disclosure of PHI.
                   3.2      Notification of Change in Authorization. Covered Entity shall notify Business Associate of any changes
         in, or revocation of, the permission by an individual to use or disclose his or her PHI, to the extent that such changes may
         affect _Business Associate's use or disclosure of PHI.
                  3.3      Notification of Restriction. Cover¢ Entity shall notify Business Associate of any restriction on the use or
         disclosure of PHI that Covered Entity has agreed to or is required to abide by under 45 C.F.R. § 164.522, to the extent that
         such restriction may affect Business Associate's use or disclosure of PHI.
        4.         Indemnification
                 4.1        If any party breaches any part of this Agreement, the non-breaching party shall be entitled to relief by
        appropriate legal or equitable means. Further, the parties agree to mutually indemnify each other against any and all claims,
        losses or liabilities incurred as a result of the other party's wrongful actions.
         5.        Term and Termination.
                5. l      Term. The term of this Agreement shall be coextensive with the term of the Contract to which this
         Agreement relates.
                 5.2      Material Breach. Any breach by Business Associate of any provision of this Agreement shall, at the
        option of the Covered Entity, constitute a material breach of the Contract and shall be cause for inunediate termination of the
        Contract and this Agreement, any provision in the Contract to the contrary notwithstanding.
                            5.2. l   Covered Entity's Right of Cure. At the expense of Business Associate, the Covered Entity shall
         have the right to cure any breach of the Business Associate's obligations under this Agreement. Covered Entity shall give the

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                 Business Associate notice of its election to cure and Business Associate shall cooperate fully in the efforts of Covered Entity
                 to effect such cure. Payment by Business Associate to Covered Entity for the cost of cure under this Subsection shall be
                 made within thirty (30) days following Covered Entity's request for same.
                           5.3      Obligation of Business Associate Upon Termination. Upon termination of this Agreement for any
                 reason, Business Associate shall, at the option of the Covered Entity, return or destroy all PHI that Business Associate and its
                 agents and subcontractors maintain in any form, and shall retain no copies of such PHI. If return or destruction is not
                 feasible, as determined by the Covered Entity, Business Associate shall continue to use appropriate safeguards as required in
                 Section 2 of this Agreement and comply with the provisions of45 C.F.R. Part 164, Subpart C, with respect to Electronic
                 Protected Health Information. With respect to any retained PHI, Business Associate shall limit further use and disclosure of
                 such PHI to those purposes that make the return or destruction of such inforn1ation infeasible.
                                   5.3.1   Notification. If Covered Entity elects destruction of the PHI, Business Associate shall certify in
                 writing to the Covered Entity that such PHI has been destroyed in accordance with guidance promulgateo by HHS.
                          5.4      Survival of Obligations. The obligations of Business Associate pursuant to Subsection 5.3 shall survive
                 termination of the Agreement.
                 6.        General Provisions.
                           6.1      Amendment. Business Associate and Covered Entity agree to cooperate in amending this Agreement to
                 the extent necessary to comply with changes in law with respect to California law, HIPAA, the HITECH Act and all
                 regulations promulgated there under. Notwithstanding any contrary provision in the Contract, Covered Entity may, at its
                 option, tem1inate the Contract and this Agreement upon thirty (30) days written notice in the event the parties are not able to
                 agree upon an amendment.
                          6.2      Notices. Any notice required or pem1itted to be given hereunder shall be in writing sent either by personal
                 delivery, overnight delivery, or United States registered or certified mail, return receipt requested, all of which shall be
- .......
                 properly addressed, with postage or delivery charges prepaid, to Covered Entity and Business Associate as follows:

                           To Cover<?d Entity:


                                               Attention:

                           To Business Associa~:               Advanced Medical Reviews, Inc.
                                                               2950 31'1 St., Ste 100
                                                               Santa Monica, CA 90405

                 Notices sent by personal delivery shall be deemed given upon actual receipt. Notices sent by overnight delivery shall be
                 deemed given on the nexfbusiness day. Notices sent via United States registered or certified mail shall be "de~med given two
                 (2) business days from mailing. ·

                 IN WITNESS WHEREOF, the parties have caused this Agreement to be executed as of the Effective Date hereof.

                ADVANCED MEDICAL REVIEWS, INC.                                                COVERED ENTITY


                 By:
                                  (~ _:-\- f ~ '~ - -·                                        By:

                 Printed Name:     Vincent J. Bianco                                          Printed Name:

                Title:             President                                                 Title:




      .......



                         2950 3pt St., Ste 100 Santa Monica, CA 90405 Phone (:310) 575-0900 Fax (310) 470-4717 www.admere.com
                                                                  ,.~\d'/J!ICCd r·.,·1:.:~dic~:1f Pt.~Vii.:'Vv;:;:   Jnc.
         fMR             Case 4:17-cv-00338-BSM Document 1 Filed 05/18/17 Page 43 of 65
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         ~9.Y.~!:!C:§.9-_Me_~~~!..R~~!~..?.______________________ -··-·- ··--·-··-· ---···-·---·




                Form     W-9
                CRev- December 201~1
                                                                                Request for Taxpayer                                                                         Give Form to the
                                                                                                                                                                             requester. Do not
                Depanmfftl o! ma Trusu<y                              ldentffic.atlon Number and Certification                                                               send to the IRS.
               In:.,,,.. Revenuo Sotvice
                      1 Namo (as showo on your "'come lax return). Name 1s roquirod on this &ne; do not leave this line blank.
                      Advanced Medical Reviews Inc.
                   N 2 Business nam61'diSregarCled e<1tity name, 11 Clfffer""t from above
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                              tho ta< Clossifocat;on al !he single-member owner.
                             Other (see instrucllonsl ..
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                   JC    & Address (nl6nber. street. and apt. or suite        no.)                                                     Requester's name and acl<lress (op1;,,na11
                   u
                   8.    PO Box 492345
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                         G City. stale, and ZIP~
                         Redding, CA 96049
                         7 Usl acC®nt """'1>tor(sJ here (opUonalJ


               •::lfl t•          Taxpayer Identification Number ITINJ
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               backup withholding. For lndivlduals. this Is generally your socfal security numb&r (SSN). However. for a
               resident alien. sole proprietor. or disregarded entity. see lhe Part I lnstrucllons on page 3. For other
               enlftles. It Is your employer iclenlifocatlon number (ElN). If you do not have a number, see How to get a
               TIN on page 3.
                                                                                                                                                ITJJ~~-DJ
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                                                                                                                                                                                -I I I I I
              Nata. If the account Is In more than one name, see the lnsllvctlons for One 1 and the chart on page 4 for                         ~erldentlfteatlonnumber                        -].
              guidelines on whose number to enter.                                -
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 --.                              Certification
              ·Under penaltle$ of peljUf}', I certify that:
              1. The number shown on this fonti Is my correct taxpayer Identification number (or I am waiting for a number to be 1$SUed-to. me); and
              2. I am not su~t to backup wlthholdfng because: (a) I am el\empt from backup wlthholdlng,.or (bl I have not been notified by the lntemal Revenue
                 Service ~RS) \hat I-am subject to bac:kupwfthholdfng aa a result of a failure to report all Interest or dividends, or(c) the IRS has.notified me lhat Cam
                 no !anger sub1ect to backup withholding: anti
               3. I am a U.S. citizen or other U.S. P\l<SOn (defined below); and
               4. The FATCA code(s) entered on this form (if any) ln<ficatlng that I am exempt from FATCJ\ reporting Is correct
               Certllicatlon lnstrucUons. Yqu must cross out Item 2 above If you have been noUlled by the IRS that you are currer\Uy aubJeot to backup withholding
             • because you have failed lo ~port all lnterQt and divldenda on Y!>llt taJC roturn. For real estate transaCUons, Item 2 does not apply. For mortgage .
               Interest paid. acqu~llon·or abandonment of secured prope11y, c:ancollaU011 of debt. coritnbutlOns to an Individual retirement ami.ngement (IRA!, and
               generally, payments other than lntGre&t and dividends, you are llOI required to sign Ill& celtllicatlon. but you must_provlde your correct TIN. See the
               lnsltUctions on.page 3.            ,.           .
              Sign
              Here
                         ·1 s~;..;.;;; ~r
                              U.S.person..
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                                                   ;.(.........__             I
                                                                                  IL~ J ,'                                        Date..           i. $ / t.
                                                                                                                                                             J /.Jt.,                     ----
              General Instructions                                                                          •Fann 109811tome mortgage lnlorestl. 1098·E (slUdent loan "1terosr~           1098-T
                                                                                                            (tuition!                                        5126/2016
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              Fut.,... clovelopmento. lnlonnaUon about clevolopmenls allectlng Fonn W•9 tsuch               •Form 1099-AtacqulsUron O<' abanCIOnment or secured proPof\y)
              as logiafaUon onadcd altcrw" relo<ase IQ ls at mvw.lrs.govttwg.
                                                                                                              Use Form W·9 only ii you are a U.S. pe<sOll ~ncludlng a resident aH•nl. lo
              Purpose of Form                                                                              provide your correct TIN.
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             rolutn with lhe IRS must obtain your conect taxpay,.. ldentil'oca!lon llUmber (TIN)           lo backup whhholaing. s.., l'Wtal is IJacJ<up with/-.oldi119?"" page 2.
             which may be your social security number (SSNJ. inClividua! taxpayer ldentlllcalion              By slgn"'ll lhG filled-out form, you:
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             • Fenn 1099·01V fdo,iderv.l•. L1Cluding lhOsc from stocks er mutual funds)                    appl1ca.b&e. you arc al:so ceciifyiog that as -a U.S. person. } 0'.lf anocat>le share or
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             broken I                                                                                      ew:empt trom the FATCA rePQrting. ''correct. See What is FA 1CA reoorl•nc;? oo
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                                                                                                 Cal. No. 10231X                                                        Form   W-9 (Rev.    12·201")



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              2950 3pt St., Ste 100 Santa Monica, CA 90405 Phone, (310) 575-0900 Fax (310) 470-4717 www.admere.com
                                                     AdvcinCt:"?d rvie::.i!c2l P.!~Vie\~.!S, Jnc.
       Tonya Lee
                          Case 4:17-cv-00338-BSM Document 1 Filed 05/18/17 Page 44 of 65
    --.From:
     ·-.·sent:                                Tom M. Patterson <TPatterson@admere.com>
                                              Thursday, May 26, 2016 12:12 PM
       To:                                    Tonya Gierke
      Subject:
                                              FW: Conway signed contract
      Attachments:
                                              imageOOlJpg; AMR-Conway Regional Hospital agreement-signed vjbl.pdf


      Here you go Tonya I

     Tom Patterson
     Sales Representative
     Advanced Medical Reviews
     (310) 575-3020 I work
     (949) 439-6196 f cell
     (310) 470-47171 fax
     TPatterson@admere.com
     www.admere.com



      flvR
     Advanc:ed Medlcal RGVlews


     "We believe every patient should receive quality healthcare. "

~ONFIDENTIALlTY NOTICE: This message, including any attachments, is for the sole use of the Intended reciplent('s).and may
.      intaln confidential and privileged information or otherwise protected by law. Any unauthorized review, use, disclosure or distribution is
     .• ohlbited. If you are not the intended recipient, please contact the sender by reply e-mail and destroy all copies of the original
     message.




     From: Vince Bianco
    Sent: Thursday, May 26, 2016 10:11 AM
    To: Tom M. Patterson <TPatterson@admere.com>
    Subject: RE: Conway signed contract

    Attached.



     Vince Bianco
     President
     Advanced Medical Reviews
    ·(949) 230-1354


    From: Tom M. Patterson
   Sent: Thursday, May 26, 2016 9:59 AM
   To: Vince Bianco <vbianco@admere.com>
........,,_Jlbject: Conway signed contract
     . ,.>ortance: High


    Vince,
                                                                         1
                                                                                                    -
agreement only signed by client. This way I can send to them and they have a fully executed agreement.
               Case 4:17-cv-00338-BSM Document 1 Filed 05/18/17 Page 45 of 65
Thanks,

Tom Patterson
Sales Representative
Advanced Medical Reviews
(310) 575-3020 I work
(949) 439-6196 I cell
(310) 470-4717 I fax
TPatterson@admere.com
www .admere.com


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"We believe every patient should receive quality healthqare."

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contain confidential and privileged Information or otherwise protected by law. Any unauthorized review, use, disclosure or distribution is
prohibited. If you are not the Intended recipient, please contact the sender by reply e-mail and destroy all copies of the original
message.                               ,



From: Tonya Gierke [mallto:tgierke@conwayregional.org]
Sent: Wednesday, May 25, 2016 2:07 PM
.,.o: Tom M. Patterson <TPatterson@admere.com>
.;ubject: signed contract
Importance: High ·

Please see attached.    can we do training tomorrow so We can get the records to you?
Tonya Gierke RN, BSN, JD, CHC, CHPC
Corporate Compliance Officer & Risk Manager
Conway Regional Medical Center
Quality Resources
2302 College Ave.
Conway, AR 72034
Office: 501-450-2495
Fax: 501-513-5312




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Advanced M(;dlcal ReviEWs

                                                                  AGREl<~MENT


Advanced Medical Reviews, Inc. ("All.fR") is an independent review organization

11lis Agreement between AMR and Conway Regional Hospital ("CUe11t") is effective as of the date set forth below (the
..Effective Date"), and the parties agree as follows:


         l.     AMR, as .an independent review organization, will provide independent medical review services ("Services") as
                requested by Client, in accordance with Client's requirements. These Services shall be performed based on the
                Work11ow Schedule set forth in Schedule A.
         2.     AMR and Client agree that all services will be performed according to the fee schedule outlined in Schedule A.
                This Agreement shaJI supplant all previous Agreements and Agreements between AMR and Client. All previous
                Agreements between AMR and Client shall be considered null and void effective as of the Effective Date as set
                forth below.
         3.     AMR will provide the agreed-upon Services to Clients through individuals who are members of the AMR Network
                ("Reviewe!"s").
                a. AMR will maintain a credentialing program for its Reviewers in order to assure that every Reviewer has a
                    current unrestricted license as applicable.
                b. AMR will a.'lsign each review to a Reviewer within the specialty requested by the Client or within a specialty
                    or possessing the appropriate knowledge or experience to address the subject matter of the review.
        4.      AMR will provide Client with monthly activity reports that detail services provided in a mutually agreed upon
                fonnat.
         5.     Client agrees that all present and future communications and business transactions with Reviewers will be made
                through AMR.                 ·                                                                              ·
        6.      AMR will provide Client with services that will .be performed in accordance with both Client's requirement.'!, as
                outlined on this Agreement, and URAC standard.... ,         .
         7.     AMR will notify Client in a timely fai;hion if there is any material change in AMR's ability to perform agreed upon
                servicc.c;.
        8.      AMR agrees that Client may, at any time during the term of th.f.q Agreement and upon rea.'lonablc notice, conduct a
                review and/or audit of AMR's records pertaining to the contracted Services.
        9.      If Client identifies specific issue.~ with AM R's pcrfonnance of concracted Service.'!, Client ~hall provide AMR with
                written notification of such. AMR 11hall have up ro 30 days from receipt of such notice to take actions to correct
                identified problems to Client's reasonable 11atisfnction. If AMR fails to correct identified problems within i:uch time
                period, Client may elect to terminate this Agreement at that time.
         10. AMR Services are not substitutes for medical services. AMR is ·not responsible for benefit or medical care
             decisions. All determinations made by AMR arc rccommendatiqns only, and are nol intended to be construed to
             require any person to have or forgo mediCal treatment.
         11. Cunfidentiality
                a.   Confidential Information. Client understands that during the term of this Agreement, Client will have access to
                     certain of AMR 's confidential information, including but not limited to its fees for Services provided, the terms
                     and conditions of this Agreement, Worldlow schedules, its password-protected website portal information
                     (including forms and other materials), policies and procedures, and other confidential. proprietary or
                     competitive trade secret information belonging to or in the possession of AMR th.at is not known to the public,
                     all of which shall be referred to herein as "Confidential lnfonnation:· Such confidential, proprietary and
                     competitive trade secret information included. but is not limited to, all infonnation in any form relating to the
                     design, fonclion and operation of AMR 's products and services, sy1aems and processes, sot1warc, organization
                     and staffing and all technical information, knowledge, flow charts, specifications, design documents, sales and
                     marketing plans and strategies or olher documents of any type whether in printed or machine readable form


              29.50 31 51 St., Ste 100 Santa Monica, CA 90405 Phone (310) 575-0900 Fax (310) 470-4717 www.admere.com
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            Case ,~~~4:17-cv-00338-BSM Document 1 Filed 05/18/17 Page 47 of 65
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Advanced Medical Reviews

           relating thereto. Such Confidential Information shall be protected whether or not it has been marked, stamped
           or otherwise identified as such by AMR. Client agrees to maintain all such Confidential Information in strictest
           confidence and not to disclose such Confidential lnfonnation to any third party or person within Client's
           employ. whether as an employee or independent contractor, without AMR •s prior written consent Client shall
           not make copies, in whole or in part, of any or all Confidential Information without the express consent of
           AMR.
      b.   If any party breaches any part of this Agreement, the non-breaching party shall be entitled to relief by
           appropriate legal or equitable means. Further, the parties agree to mutually indemnify each other against nny
           and all claims. losses or liabilities incurred as a result of the other party's wrongful actions.
      c.   HIP AA: AMR and Client agree to comply by all applicable state and federal laws and regulation!> concerning
           the confidentiality of data. This includes compliance to the applicable Standards under the I lealth Insurance
           Portability and Accountability Act (HIP AA} of I 996 and in accordance with the tenns set forth in Schedule B
           hereto.
  12. Conflict of Interest
      a. AMR reviewers will only complete cases in which they do not have a conflict of interest.
      b.    A reviewer conflict of interest is defined as:
           - i. Reviewer has a material professional, familial, or financial conflict of interest regarding an affected party;
            ii. Reviewer accepts compensation for review activities that is dependent in any way on the specific outcome
                of the case; or                         ·                I
           iii. Reviewer was involved with the specific episode of care prior to referral of the case for review
      c.   The following shall not constitute a re"'.iewer conflict of interest:
            i. Reviewer has a contract to provide health care services to Client's enrollees; and
           ii. Reviewer has staff privileges at a facility where the recommended health care service or treatment would
               be provided if Client's previous non-certification is rcver~ed.
  13. Termination Clause. This Agreement may be terminated by either party.by providing the other party with thirty
      (30) days prior written notice of its intent to terminate. with or without cause.
  14. Use of Name; Publicity. Neither pany may use the other'1111amc or identity in any advertising. public relations, or
      publicity without the prior written permission of the other.
  15. General Terms and Conditions.
      a.   Notices, Any notice ·required or permitted to be given hereundc~ shall be in writing 11ent by either personal
           delivery, overnight delivery, or US registered or certified mail, return receipt requested, all of which shall be
           properly addressed, with postage or delivery charge.~ prepaid, to AMR or Client at their respective addresses
           listed below, or at such other addresses as either AMR or Client may hereafter dCNignatc to the other in writing.
           Notices sent by personal delivery shall be deemed given upon actual receipt. Notices sent by overnight delivery
           shall be deemed given on the nex:t business day. Notices sent via United States registered or certified mail shall
           be deemed given two (2) business days from mailing.
      b.   Insurance. Each party shall maintain in existence during the term of this Agreement insurance coverage in a
           commercially reasonable amount that will adequately protect the parties from claims arising out of the Services
           requested by qJent, including, but not limited to, errors and omission and general liability coverage. Upon
           request, a· party shall provide the other with proof of such im1uranee.
      c.   Assignment. This Agreement and the rights, interests, and benefits hereunder shall not be assigned, transferred.
           pledged, or hypotheeatcd in any way by either party. nor shall the duties imposed herein be subcontracted or
           delegated by either party, without the prior written approval of the other party.
      d.   De-legation. If AMR delegates organizational functions. those fi.Jnclions shall be subject to the terms of this
           Agreement and in accordance with URAC standards.
      e.   Dispute Resolution. Any comroversies or claims between the parties regarding this Agreement must fin;t be put
           in writing and delivered to the other party. The parties shall make a good faith attempt to resolve the issue in
           question. If the parties cannot resolve the grievances or dispute~ between them in an informal and expeditious


    2950 31st St., Ste 100 Santa Monica, CA 90405 Phone (310) 575-0900             Fax (310) 470-4717 www.aclmere.com
                                                                     ..;
           M ...   Case 4:17-cv-00338-BSM Document 1 Filed 05/18/17 Page 48 of 65
 AdvancEd Medical Reviews

                   fa:;hinn, one or both of the partiei; mny pursue legal action as dt:emed appropriate and nece:;sary. The parties
                   may agree ll) extend the time for dispute resolution in order lo pursue mediation of the dispute.
             t:    Entire Agreement; Amendment. This Agreement i;upcrsedes any and all other agreements, either oral or in
                   writing, between the parties hereto with rci;peet to the services to be provided hereunder. Each party to thi:;
                   Agreement acknowledges that no representation:;, inducements. promises, or agreements, orally ur othcrwii;e,
                   have been made by any party, that nrc not embodied herein or in an· exhibit hereto, and Chat no other agreement.
                   statement, or promise not contained in this Agreement shall be valid or binding. Any modifications.
                   amendments, or waivers of this Agreement shall not be effective except if set forth in writing and signed by
                   both pnrties.
             g.    Applicable Law. This Agreement nnd the rights and obligations of the parties hereunder 8hall be construed,
                   interpreted, and enforced in accordance with, and governed by. the laws of the State ofCalifomin. Any actions.
                   arbitration or proceedings instituted by either party with respect to any mnttcn; arising under or growing out of'
                   this Agreement shall be brought and tried only in the couns located in the County of Los Angeles, State of
                   California. and each of the particit hereto expressly waives its rights under any applicable statute to cause any
                   such action or proceeding to he brought or tried cli;cwhcrc.
             h.    Understanding of Agreement. The parties hereto ackno\Vledgc and agree that this Agreement has been
                   negotiated at am~'s length and between parties equally sophisticated and knowledgeable in the matters dealt
                   with in this Agreement. Accordingly, any rule of law (including, without limitation, California Civil Code
                   Section 1654) or legal decision that would require interpt'ctation of any ambiguities in this Agreement against
                   the party that has drat\ed it is not applicable and is wni\·cd. The provisions of this Agreement shall be
                   interpreted in a reasonable mmmer to affect the intent of the parties as; iwl forth in thi~ Agrccmcnl
             i.    Sched,qlci;. AU Schedules referenced in this Agreement and attached hereto are incorporated into this
                   Agreement by reference. Jn the event uf u ctintlict between a term or condition of this Agreement nnd that of n
                   Schedule, the term or condition of the Schedule shall control.
             .i.   Non-so.licitalion. During the Tem1 tlf this Agreement, and for a period of one ( 1) year after itc; tcrminntion.
                   Client ngree:; 11ot lo solicit any (lf AMR 'i; Revicwcn; for ~ervices substantially i;imilnr to the Servi eel' that
                   Reviewer has provided t<> Client on behalf of AMR.
             k.    Independent Contractors. The relationship between Ai\IR and Client-is that of independent contracto~.
                   Neither AMR nor Client i:i a meiubcr, partner, 8lfcnt, representative. employee, employer or joint venturer of
                   the other. F.xcepl as uthcrwise specified in this Agreement: neither party shall have, nor ~ercisc control or
                   discretion over. the method by which the other party shall perform such work or render or perfom1 such servicci;
                   and functions.


IN WITNESS WimREOF, the parties have executed this Agreement. as set forth below.

Advanced Medkal Rc\'icws


B:--:                                                                   By:
                   1Aulho1fo:d Si11m11Urcl

l'rint~'d Name:                                                         l'rinkd N11111<::

Tille:                                                                 Tille:

Alldrcss:          ~·>SO   .31" St. SI<; Ill

C'ity Stnlc ZIP: Sama Monicn, CA •Xl405

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           2950 31st St., Ste 100 Santa Monica, CA 90405       Phone (310) 575-0900 Fax (310) 470-4717 www.aclmere.com
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          Case      4:17-cv-00338-BSM
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                                                           Document 1 Filed 05/18/17 Page 49 of 65
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AdvancEd Medical Reviews


                                  SCHEDULE A: WORK.FLOW, FEES AND PAYMENT SCHEDULE

Advanced Medical Reviews, lnc. ("AMR") will provide Independent Medical Review services as requested by Conway
Regional Hospital ("Client'). AMR shall have no responsibility for any benefit of medical care decision.<:. All
detenninations made by AMR are recommendations only, and are not intended to be construed to require any person to have
or forgo medical treatment. AMR services are not substitutes for medical services.
Client shall submit peer review requests to AMR via fax, mail. web application or email. AMR shall maintain current
credentialing information for individuals who are members of the AMR Network ("Reviewers") to assure that every
Reviewer has a current unrestricted license as applicable. AMR shall assign each review to a Re-viewer who shall be in an
appropriate specialty or who shall possess 11pccific knowledge appropriate to the request of the treating provider. AMR will
post completed peer reviews to a web portal. CUcnt will retrieve the completed reviews via the web portal.
AM R's services shall be performed based on Client's requested tumaround times. Turnaround times are calculated from the
time the request and all related material are received by AMR
    •    ..Turnaround 1": reviews wilh a requested turnaround of 5 business days' or greater
    •    ''Tumnround 2": reviews with a requested tumarotmd between 3 and S business days'
    •    "Turnaround 3": reviews with a requested turnaround between 1 and 3 business days 1

AMR and CU                    hat all                 ·n b    fl    d          d"     he foll          fee scl1edul
                              .     .J
  ·F~~?:Hourly              Page~.- ..           · · Turnaround 1 · ·        Turnaroundt .2                        ..
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Flat                  0 t025 Ol!S                            $225.00                 '$260.00                 $285.00
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Hourly                l0l+D2S <·.                    $270.00 ner hour        $305.00 ri<--r hour      $405.00 ncr hour

Reviews with up to 100 page.<i 2, up to 3 items:I, up to 0 cull attempts, and with a requested turnaround greater than or equal to
1 days 1 will be billed at the flat rates outlined above. Reviews that fall outside any of the above parameter.; (i.e. reviews with
greater than 100 pagcs2, and/or greater than 3 ilems3• and/or requiring more than 0 call attempt~. and/or with a rcquc11tcd
turnaround less than J days 1) will oe billed at the hourly ratt:..-; outlined above. All reviews that fall outside the above
parameters and reviews with requirement.~ not detailed above will be billed based the hourly rates outlined above. Reviews
that exceed fair and customary standard.'4 may incur additional fees as mutually agreed by both parties. Any additional costs
incurred during the review procc.'ls, such as shipping, will be paid for by CJient. Reviews may have a maximum duration~ of
up to JO business days. Reviews with a duration_. thal exceeds 30 business days will be charged a.c; multiple reviews.
Reviews that are reopened l 0 busine..q,~ days or more afier the original completion dat~ will be charged as a i-;cparate review.
Reviews that are reopened within 10 bu.°'iness.days of the original complelion date will be charged if the applicable billing
tier has changed.
AMR and Client further agree that AMR may adjust the fees sel forth above upon thirty (30) days' written notice, which
notice may be given at any time after two (2) years following the Effective Date herein.

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              Revie\W!1:~: indh'idual~ who are mcmhe1:<; ofthe AMR Network




AMR will provide monthly invoices to Client. ·Invoices will be mailed and/ur e-mailed to:
              Name:     T<>nyn Ci<.'rke

         2950 31st St., Ste 100 Santa Monica, CA 9040S Phone (310) 575-0900                        Fax (310) 470-4717 www.admere.com
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 AdvancEd Medical Reviews

                Address:              Cm1way Regional llospitul
                                      2302 College A vc
                                      Conway, AR 72034
                Phom::                501-450·2495
                Email:                tgierke(ti" conwayregional.org


Client will be responsible Lo make payment within thirty (30) calendar days or the invoice date ("Due• dctte"). Client agrees
to pny AMR for all services ordered according to these tcmts. irrc.<:pectivc of receiving payment from its client/plan provider.
A late payment of 2% per month will be applied to the total unpaid balance on the account if full payment is not received by
the due dntc. Client will mail payment to:
                Advanced Medical Reviews, Inc.
                2950 31"' Street Suite #IOO '
                Santa Monica CA 90405


IN WITNESS WHEREOF, the parties ha\·e executed this Agreement, as set forth below.

Advanced i\lcdlcal Reviews                                                    Conway Regional Hospital


By:                                                                           By:
                       (Au.ll1<1riz~-..1 Signature)                                                IAutht~~ ~~naturt!)
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Advanced Medical Reviews

                                     SCHEDULE B: BUSINESS ASSOCIATE AGREEMENT

This Business Associate Agreement ("Agreement"), is entered into in connection with the Agreement for provision of
medical review services ("Contract") entered into by and between Conway Regional Hospital ("Covered Entl"ty"} and
Advanced Medical Reviews, Inc. ("Business Associate") concurrently herewith and is effective upon execulion.

                                                             RECITALS
         WHEREAS, Covered Entity wishes to disclo!'c certain information to Busineiis Associate pursuant to the terms of
the Contract, some of which may constitute Protected l lealth Information ("Pl 11"), as defined below:

         WHEREAS, Covered Entity and Business A'l..~ociatc intend to protect the privacy and provide for the security of
PHI disclosed to Business Associate i.11 compliance with the Health lmmrance Portability and Accountability Act of 1966,
Public Law 104-191 {"H1PAA"), lhe Health Informatio11 Technology for Economic and Clinical Health Act, Public Law 111-
005 (the "HITECH Acl11 ) and regulations promulgated there under by the U.S. Department of Health and lluman Services
("HIP AA Regulations"), and other applicable laws; and

          WHEREAS, as part ofHlPAA Regulation.-;, the Privacy Rule and Security Rule, as defined below, require that prior
to disclosure of PHI, Covered Entity enter into a contract with Businci>i> Associate containing specific requirements tiet forth
herein, including, but not limited to, 45 C.F.R. §§ 164.314(a} 164.502(a) and (c). and 164.504(e);

         THEREFORE. in consideration of the mutual promises contained herein and the exchange of information pursuant
to this Agreement. the parties agree as follows:
                                                 AGREEMENT
I.       Definitions. Tenns used, but nol otherwise defined, in this Agreement shall have the same meaning as set fortl1 in
regulations promulgated under HIPAA and the l llTECH Act, a_c; amended from time to time.
        1.1.    Breach shall have the meaning given to such lerm under the I llTECH Act and HIP AA regulations at 42
U.S.C § 17921 and45 C.F.R. § 164.402.
         J.2      Breach Notification Rule shall mean the JilPAA Regulation that is codified nt 45 C.F.R. Parti;.160 and
I 64, Subparts A and D, respectively.
         1.3   Business Associate shall have the meaning given to such tem1 under the Privacy Rule, the Security Rule
and the HITECH Act including, but not limited to, 42 U.S.C. § l 7938 and 45 C.F.R. § 160.103.
         l.4,      Covered Entity shall have the meaning given to such tenn under the Privacy Rule and the Security Rule
including, but not limited to, 45 C.F.R. § 160. l 03. ·
          1.5      Designated Record Set shall have the meaning given to such term under the Privacy Rule including, but
not limited to, 45 C.F.R. § 164.501.
         1.6      Electronic Pl'otected Health Information means PHI that is maintained in or transmitted by electronic
media, as described in 45 C.F.R. § 160.103..
          1.7      Health Care Operations shall have the meaning given to such term in the HITECH Act including. but not
limited to, 45 C.F.R. § 164.501.
             1.8       Privacy Rull" i;hall mean the HIP AA privacy rules codified at 45 C.F.R., Parts 160 and 164, Subparts A
and E, respectively.
          1.9      Protected Health Information ("PHl") means any information, whelher oral or recorded in any form or
medium, that (a) relates to the past, present or future physical or mental Cl1ndition of an individual, the provision of health
care to an individual or the past, present or future payment for the provision of health care co an individual; (b) identifies the
individual or, wilh respect to which, there is a reasonable basis to believe the infomwtion can be used to identify the
individual; aml (c) has the 1111.:aning given lo :mch term under the l'rivucy Kuk i11c.;luJi11g, but 11ul li111i1c:d Lo, 45 C.F.R. §
164.501. PHI includes Electronic Protected Health Information.



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                   1.10     Security Jncident shall have the meaning given to such term under the Security Rule including. hut not
         limited to, 45 C.F.R. 164.304.  *
                        1.11        Security Rule shall mean the I HP AA security rule codified at 45 C .F.R. Parts 160 and 164, Subparts A and
         C,    re~-pectively.

                  1.12     Unsecured PHI shall have the meaning given to such tenn under the HITECH Act and any guidance
         is:med pursuant to such Act including, but not limited to, 42 U.S.C. § 17932(h) and 45 C.F.R. § 164.402.  ·
         2.             Obligations of Business Associate.
                  2.1       Permitted Uses. Business Associate shall use J>Hl solely for the purpose of performing Business
         Ai;sociate's obligations under the Contract and as permitted or required under the Contract. this Agreement, or as required by
         law. Further, Business Associate shall not use PHI in any manner that would constitute a violation of the Privacy Rule or the
         HITECH Act if so used by the Covered Entity.
                  2.2     Permitted Disclosures. Business Associate shall disclose PHI only for the purpose of performing
         Business Associatc's. obligations under the Contract and as permitted or required under the Contract, this Agrecmen!, or as
         required by law. Business Associate·shaU not disclose PHI in any manner that would constitute a violation of the Privacy
         Rule or the HITECH Act if so disclosed by the Covered Entity.
                  2.3    · Prohibited Uses and Disclosures. Business Associate shall not use or disclose PHI other than as
         pennitted or required by the Contract, this Agreement or as required by Jaw.
                  2.4       Appropriate Safeguards. Business A<isociate shall implement appropriate safeguards, and comply with
         the provisions of 45 C.f .R. Part 164, Subp!lrt c. with respect to electronic PIH, to prevent use or disclosure of PIII other than
         as provided for by this Agreement including, but not limited to, adminislrative, physical and technical safeguards fo
         accordance with tho Security Rule. Business Associate shall comply with the policies and procedures and documentation
,,.      requirements of tho Security Rule including, but not limited lo, 45 C.F.R. § 164.316.                                ·
                   2.5       Subcontractors and Agents. Business Associate shall ensu~ U1at any agents and subcontractors that
         create, receive. maintain or transmit PHI on behalf ofBu.i;iness Associate agree in writing to the same ·restrictions and
         condition.o; that apply to Bu.c:.inesi> Ai>sociatc with respect lo such PHI and implement the safeguards required by Paragraph 2.4
         above.
                   2.6      Access to Protected Information. Bmiiness Associate shall make PHr maintained by Business Associate
         or its agents or subcontractors in Designated Record Secs available to the Covered Entity for inspection and copying within
         five (5) days of a request by Covered Entity to enable Covered Entity to fulfill its obligations under California law, I lea Ith &
                                                                                                      *
         Safety Code§ 123110, and the l'rivacy Rule including. but not limited to, 45 C.F.R. 164.524. If Business Assot:iatc
         maintains PHI in electronic fonnat, Businc:>s Associate shall provide such information in electronic formal as necessary lo
         enable Covered Entity to fulfill its obligations under the HITECH Acl and HIP AA Regulations.
                  2. 7     Amendment of PHI. Within ten ( l 0) days of a request by the Covered Entity for an amendment or PHI or
         a record ~bout an individual contained in a Designated Record Set, Business Associate and its agents and subcontracton; shall
         make such PHI available to the Covered Entity for amendment and incorporate any such amendment or olher documentation
         to enable Covered .Entity to fulfill its obligations under the Privacy Rule including, but .not limited to, 45 C.F.R. § 164.526.
                  2.8      Accounting of Drsclosures. Within ten (10) day:. ofa request by the Covered E11tity for ai1 accounting of
         disclosures of PHI, Business Associate and it.c; agent.c; and subcontractors shall make available to the Covered Entity the
         information required to provide an accounting of disclosures to enable Covered Entity to fulfill its obligations under the
         Privacy Rule including, but no! limited lo. 45 C.F.R. § 164.528, and the llITECH Act including, but not limited to, 42 U.S.C.
         § 17935, as detem1ined by the Covered Entity.

                             2.8. I   Retention of Records. Bui;iness Associate and its agents and subcontractors shall maintain such
         accounting for at least six (6) years: provided, however, that accounting of disclosures from an Electronic Health Record for
         treatmcnl, payment or health care operations purposes arc required to be maintained for at least three (3) years and only to the
         extent th:it the Rusiness Assncittle maint11i11::: an Elcc:tronk Hc:nlth Rcc:nrd.
                            2.8.2     Information Requirl'd. At minimum, the information collected and mainlained shall include (a)
         the date of disclosure; (b) the name of the entity or person who received PHI and, if known, the address of such entity or
         person; (c) n brier description of PHI disclosed; and (d) a brief statement of purpose of the disclosure that rea.sonably informs

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     Advanced Medical Reviews

     the individual of the bash; for the disclosurc(s) or a copy of the individual's authorization or a copy of the written request for
     disclosure.
               2.9      Governmental Access to Records. Business Associate shnll make its internal practices, bouks and records
     relating to the use and disclosure of PHI available to the Covered Entity nnd lo the Secretary-of the U.S. Department of
     Health and Human Services ("HHS") for the purpose ofdctcnnining Business Associate's compliance with IIIPAA.
              2.10    Mlnimu m Necessary. Business Associate and its agents and subcontractors shall request, u:-;c and disclose
     only the minimum amount of PHI necessary to accomplish the purpose of the request, use or disclosure. Business Associate
     understands and agrees that the definition of "minimum necessary" is in flux and shall keep itself infonned of guidance
     issued by HHS with respect to what constitutes "minimum necessary."
               2.11     Notirica tlon of llrcnch. Business Associate shall notify Covered Entity within twenty-four (24) hours of
     any (a) suspected or actual breach of Pill; (b) use or disclosurcofPHl not pcnniucd bylhe Contract or this Agn:emi:nt: (c)
     Security Incident. including attempted or successful unauthorized access, use, disclosure, modification or destruction of
     hifonnation or interference with system opcrntions in nn informntion system;· and (d) nctunl or suspected use or di~closure of
     data in violation of any applicable ICderal or state laws by Business Associnte or its agents or subcontractors.
                         2.11.1 Contcnrs of Notification. The notification shall include, to the extent possible. the identification
     of eaclt individual whose unsecured PHI hns been, or is reasonably believed by the Business As:mcinte lo have been.
     accessed. acquired, used or.disclosed, as well ns any other available information that the Covered Entity is required to include
     in a notification to lhe individual. the 1111:diu, HHS nnd any other entity under the Breach Notification Ruic and nny other
     applicable staie or federal laws.
              2.12        Breach Pattern or Practice by Agents or Subcontrnclors. In accordance with the provisions of 42
     U.S.C. § l 7934(b) and 45 C.F.R.· § 164.504. if the Busines.<; A.'\.c;ociate knows of a pattern of activity or practice of nn agent or
     subcontractor that constitmes a material breach or violation of the agcnt'.s or subcontractor's obligations as required under the
--   Contract, this Agreement or other arrangement, Business Associate must take rcnsonnble steps to cure the breach or end tl1e
     violation. In the.: event Business Associate is unnblc to resolve the brench of violation, Business Associntc must immediately
     tenninate the arrangement with said agent or subcontractor and notify the Covered Entity of such tem1ination.
     3.         ObllgatJons of Covered Entih•.
             3.1       Notification of Umltntions. Covered Enlity shall notify Business Associate of any limitntion(s) in the
     Notice of Privacy Practices of Covered Entity_ under 45 C.P.R. § 164.520, to the extent that such limitation mny affect
     Business Associote's use or disclosure of PHI.
               3.2      Notfn<;affon of Chnngc In Authorization. Covered Entity shn.11 notify Business Associate of nny changes
     in. or revocntion of. the pennission by un individual to use or disclose his or her PHI, to the extent that such changes may
     affect Business Associute's use or disclosure of PHI.
              3.3       Notlftcntlo.n of Restriction. Covered Entity shall notify Business Associate of nny restriction on the use or
     disclosure of Pl-U that Covered Entity has agreed to or is required to abide by under 45 C.F.R. § 164.522, to the extent that
     such r~striction mny aITccl Business Associate's use or disclosure of PHI.
     4.         Indemnification
               4.1         If any party breaches any part of this Agreement. the non-breaching party shall be entitled to relief by
     appropriate legal or equitable means. Further. the parties agre<! to mutually indemnify each other against any nnd 1111 cluims.
     losses Cir linbilicics incurred as a result of the <Hhcr party'$ wmngl"ul actic111s.
     5.        Term nnd Termination.
            5.1       Term. The term or this Agreement shall be coextensive with the ienn of the Contract                            LO   which 1hb;
     Agreement relates.
                5.2     i\laterial Breach. Any breach by Business Ass0ciatc of any provision of this Agrecmt.!nt shall. al lh..:
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     Contract and this Agreement, any provision in the Contract 10 the contrary notwithstanding..
                          5.:!. I  Cow red Entity's Right of Cure. /\l the expense or Business Associate. the Covered Entity slrnll
     have lhc right t(> i:un: any brcad1 of the f3usincs-: J\ssocia1c's obligalions under this Ag.rccmcnl. Covered Entity shall give the

             2950 31'1 St., Ste 100 Santa Monica, CA 90405              Phone (310) 575-0900          Fax (310) 470-4717 www.adniere.com
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             Business Associate notice of its election to cure and Bu$iness Associate shall cooperate fully it1 the effort<: of Covered Entity
             to effect such cure. Payment by Business Associate to Covered Entity for the cost of cure under this Subsection shall be
             made within thirty (30) days following Covered Entity's request for same.
                       5.3      Obligation of Business Associate Upon Termination. Upon tcnnination of this Agreement for any
             reason. Business Associate shall, at the option of the Covered Entity, return or de..-;troy all PI IJ that Bu..::iness Associate and its
             agents and subcontractors maintain in any fonn, and shall retain no copies of such PHI. If return or destruction is not
             feasible, as detennincd by the Covered Entity, Business Associate shall continue to use appropriate safeguards as required in
             Section 2 of this Agreement and comply with the provisions of 45 C.F.R. Part 164, Subpart C, with respect to Electronic
             Protected Health lnfonnation. With respect to any retained PHI, Business Associate shall limit further use and disclosure of
             such PHI to those purposes that make the return or destruction of such infom1ation infeasible.
                               5.3. l  Notification. If Covered Entity elects destruction of the PHI, Business Associate shall certify in
             writing to the Covered Entity that such PHI ha.q been destroyed in accordance with guidance promulgated by IIIIS.
                       5.4 . Survival of Obligations. The obligations of Business Associate pursuant to Subsection 5.3 shall survive
             termi11ation of the Agreement.
             6.                 General Provisions.
                       6. l    Amendment. BlL,.incss Associate and Covered Entity ahrree to cooperate in amending this Agreement to
             the extenl necessary to comply with changes in law with re::;pect to California law. HIP AA, lhe HITECH Act and all
             regulations promulgated there under. Notwithstanding any contrary provision in the Contract, Covered Entity may, at its
             option, tem1inate the Contract and this Agreement upon thirty (30) days written notice in the event the parties are not able lo
             agree upon an amendment.
                      6.2 · · Notices. Any notice required or permitted to be given hereunder shall be in writing sent either by personal
             delivery, overnight delivery, or United States registered or certified mail, return receipt requested, all of which shall be
.-.......    properly addressed, wjth postage or delivery charges prepaid, to Covered Entity and Business Associate ns follows:

                                To Covered Entity:
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                                To Business Associate:          Advanced Medical Reviews, Inc.
                                                                2950 31 11 St., Ste 100
                                                                Santa Monica, CA 90405

             Notices sent by personal delivery shall be deemed given upon actual receipt. Notices sent by overnight delivery shall be
             deemed given on the next business day. Notices sent via United States registered or certified mail shall be deemed given two
             (2) business days from mailing.

             JN WITNESS WHEREOF, the parties have caused this Agreement to be executed as of the Effective Date hereof.

             ADVANCED MEDJCAL REVIEWS, INC.                                                      COVl.;RED ENTITY




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Advanced Medical Reviews




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AdvancEd MEdlcal Reviews

                                                               AGREEMENT

Advanced Medical Reviews, Inc. ("AMR") is an independent review organization

This Agreement between AMR and Conway Regional Hospital ("Cliem") is effective as of the date set forth below (the
"Effective Date"), and the parties agree as follows:


       I.     A.l\.iR, as an independent review organization, will provide independent medical review services ("Services") as
              requested by Client, in accordance with Clicnt'i; requirements. These Services shall be performed based on the
              Workflow Schedule set forth in Schedule A.
       2.     AMR and Client agree that all services will be performed according to the fe.e schedule outlined in Schedule A.
              This Agreement l.'hall supplant all previous Agreements and Agreements betY.teen AMR and Client. All previous
              Agreements between AMR and Client shall be considered null and void effective ai: of the Effective Date as set
              forth below.                                                                                        :
       3.     AMR will provide the agreed-upon Services to Clients through individual<: who are members of the AMR Network
              {..Reviewers").
              a. AMR will maintain a credentialing program for its Reviewers in order to assure that every Reviewer has a
                   current.unrestricted license as applicable.
              b.    AMR will a.-;sign each review to a Reviewer within the specialty requested by the Client or within a specially
                    or possessing the appropriate knowledge or experience lo address the ·subject mailer of the review.
       4.     AMR will provide Client with monthly activity reports that detail services provided in a mutually ·agreed upon
              format.
       5.     Client agrees that all present and future communications and business transactions with Reviewen; will be made
              through AMR.
       6.     AMR will provide Client with services that will be performed in accordance with both Client's requirements, as·
              outlined on this Agreement, and URAC standards.
       7.     AMR will notify Client in a timely fashion if there i.~ any material change in AMR's ability to perform agreed upon
              services.
       8.     AMR agrees that Client may. at any time during the term of this Agreement and upon reasonable notice, conduct a
              review and/or audit of AMR's records pertaining to the contmctcd Services.
       9.     If Client identifies specific issues with AMR1 s pcrfonnance of contracted Servioe.c;, Client shall provide AMR with
              written notification of such. AMR shall have up to 30 .days.f~om receipt of such notice to take actions to correct
              identified probJems to CUcnt~s reasonable Ratisfoction. If AMR fails to correct identified problems within i:uch time
              period, Client may elect to terminate this Agreement al that time.
       10. AMR Services are not substitutes for medical service.c;. AMR is not responsible for benefit or medical care
           decisions. All determination:; made by AMR arc recommendations only, and are not intended to be construed to
           require any person to have or forgo medical treatment.
       J 1. Confidentiality
              a.    Confidential Information. Client understands that during the tenn of thii; Agreement, Client will have access to
                    certain of AMR 's confidential information, including but not limited to iL<: fees for Services provided, the terms
                    and conditions of this Agreement, Workflow schedules, its password~protected website portal information
                    (including forms and other materials}, policies und procedures, and other confidential, proprietary or
                    competitive trade secret information belonging to or in th.c possession or AMR that is not known to the p~blic,
                    all of which shall be referred to herein ·as "Confidential lnfonnation." Such confidential, proprietary and
                    competitive trade secret information included. but is not limited to, all information in any form relating to the
                    design, function and operation of AMR 's products and services, syi;tems and processes, software, organization
                    and staffing and all technical infom1ation', knowledge, !1ow charts, specifications, design documents, sales and
                    marketing plans and strategies or other documents of any type whether in printed or machine readable form


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          Advanced Medical Reviews

                              relating thereto. Such Confidential Information shall be protected wl1ethcr or not it has been marked, i:tamped
                              or otherwise identified as such by AMR. Client agree.c; to maintain all such Confidential Infom1atio11 in strictest
                              confidence and not to disclose such Confidential Information to any third party or person within Client's
                              employ. whether a.<i an employee or independent contractor, ·without AMR 's prior written consent Client shall
                              not make copies, in whole or in part, of any or all Confidential Information without the express consent of
                              AMR.
                         b.   If any party breaches any part of this Agreement, the non-breaching party shal I be entitled to relief by
                              appropriate legal or equitable means. Funher, the parties agree to mutually indemnify each other against any
                              and all claims. losses or Liabilities incurred as a result of the other party's wrongful actions.
                         c.   IITPAA: AMR and Client agrei; to comply by all applicable state and federal laws and regulations concerning
                              the confidentiality of data. This includes compliance to the applicable Standards under the I lcalth Insurance
                              Portability and Accountability Act {HIPAA} of 1996 and in accordance with the tcnns set forth in Schedule B
                              hereto.
                  12. Conflict of Interest
                      a. AMR reviewers will only complete.cases in which they do not have a conflict of interest.
                         b.    A reviewer conflict of interest is defined as:
                                i. Reviewer has a material professional, familial, or financial conflict of interest regarding an affected party;
                               ii. Reviewer accepts c6rnpensation for review activities that is dependent in any way on the specific outcome
                                   of the case; or
                              iii. Reviewer was involved with the specific episode of care prior to referral of the case for review
                         c.   The following shall not constitute a reviewer conflict of interesl:
....._
                               i. Reviewer has a contract to provide health care ser\ticcs to Client's enrollees; and
                              ii. Reviewer has staff privileges al a facility where the recommended health care ·service or treatment would
                                  be provided if Client's previous non-certification is reversed.
                  13. Termination Clause. This Agreement may bo terminated by either party by providing the other party with thirty
                      (30) days prior written notice of its intent to terminate, with or without cause.
                  14. Use of Name; Publicity. Neither party may use the other'11 name or identity in any advertising, public relations, or
                      publicity without the prior written permission of the other.
                  15. General Terms and Conditions.
                      a. Notices. Any notice required or permitted to be given hereunder shall be in writing sent by either peraonal
                         delivery, overnight delivery, or US registered or certified mail, return receipt requested. alJ·ofwhich shall be
                              properly addressed, with postage or delivery charge.Cl prepaid, to AJ\.fR or Client at their respective addresses
                              listed below, or at such other addressc..o; a.c: either AMR or Client may hereafter designate to the other in writing.
                              Notices sent by personal delivery shall be deemed given upon actual receipt. Notices sent by overnight delivery
                              shall be deemed given on the next busine11s day. Notices i;cnt via United States rcgintcrcd or certified mail shall
                              be deemed given two (2) businc..<is days from mailing.
                         b.   Insurance. Each party shall maintain in existence during the term of this Agreement insurance coverage in a
                              commercially reasonable amount that will adequately protect the parties from claims arising out of the Services
                              requested by Client, including. but not limited to, errors and omission and general liability coverage. Upon
                              request, a party shall provide the other with proof of such. insurance.
                         c.   Assignment. This Agreement and the righti;, interei>tll, and benefits hereunder shall not be assigned, Lransforrcd,
                              pledged, or hypothecatcd in any way by either parly, nor shall the duties imposed herein be subcontracted or
                              delegated by either party, without the prior written approval of the other party.
                         d.   Delegation. If AA1R delegates organizatiomll functions. those fUnctions shall be subject to the terms of this
                              Agreement and in accordance with URAC standards.
                         e.   Dispute Resolution. Any comroversies or claims between the parties regarding this Agreement must firl't be put
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                              in writing and delivered to the other pany. The parlies shall make a good faith attempt to resolve the issue in
                              question. lfthe parties cannot resolve the grievance~ or di:::putcs between them in an informal and expeditious


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  Advanced Medical Reviews

                      fashion, one or both of the parties may pursue legal action as deemed appropriate and necessary. The parties
                      may agree to extend the time for dispute reiiolution in order to pur:;ut! mc:diation of lhc di:;pute.
                t:    Entire Agreement: Amendment. This Agreement iiupcraedes any and all other agreements, either oral or in
                      writing, between the parties hereto with respect to the services to be provided 11ereunder. Each party to this
                      Agreement acknowledges that no representations, inducements. promises, or agreements, orally or otherwise,
                      have been made by any party, that arc not embodied herein or in an exhibit herelo, and thal no 01h~r agreement.
                      :;tatemcnt. or promise not contained in this Agreement shall be valid or binding. Any modifications.
                      amendments, or waivers of this Agreement shall not be effective except if ~t forth in writing and signed by
                      both parties.
               g.     Applicable Law. 'lllis Agrccmcnl nnd the rights and obligations of the parties hereunder shall be construed,
                      interpreted, and enforced in accordance with. and governed by. the laws of the State of California. Any actions.
                      urbitration or proceedings instituted hy either party with respect to any matter.; urising under or growing out or
                      thi:i Agreement shall be brought and tried only in the courts located in the County of Los Angeles. State of
                      California. and each of the parties hereto expressly waives its rights under nny applicable slalutc to cause any
                      such action or proceeding to be brought or tried elsewhere.
               h.     Understanding of Agreement. The parties hereto acknowledge and agree that this Agreement has been
                      negotiated at arm's length and between parties equally ~ophisticated and knowledgeable in the matters dealt
                      with in this Agreement. Accordingly, any rule of law (including. without limitation. California Civil Code
                      Section 1654) or legal decision that would require interpretation of any ambiguities in this Agreement against
                      the party that has drafted it is not applicable and is Y.mi\·cd. The provisions of this Agreement shall be
                      interpreted in a reasonable manner to aftect the intent of the parties ai:; set forth in this Agreement.
               i.     ~d.1.1les. All Schedule~ referenced in this Agreement nnd attached hereto are incorporated into this
                      Agreement by refen:nce. In the event uf a <.'(lllflict between a term or condition of this Agreement ·nnd that of a
                      Schedulo, the term or C<.lndition of the Schedule s.hall Ctlntrol.
               j.    Non-so.{ipitation. During the Term of thiti Agreement. nnd for a period of one (I} yenr after its tcnninntion,
                     CUent agrees not lo solicit any of AMR'i; Reviewer~ for i;ervices $Ubstnntinlly similar to the Servicei: that
                     Reviewer has provided t<.> Client cm behalf of AMR.
               k. Independent Contractorn. The relation.-:hip between Ai\IR and Client ii; that of independent contrnctors.
                     Neither AMR nor Client is a membi:r, partner. agent, representative. employee, employer or joint venturer of
                     the other. Except us otherwise 11p~cificd itt this Agreement, neither party shall ha\'c,. nor cxercii::c control or
                     discretion over. the method by which tht.l other purty shall pcrfonn such.work or render or perfom1 :;uch services
                     and functions.


IN WITNESS WHEREOF, the parties have ex.ccutt.-d this Agre~menl. as set forth below.

Ad\·nnced Medlen! Reviews


By:
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                     IAi1thvri:r.etl Signature)
l'rintctl Name:            Vincent J. Bianco

Title:                     President

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                    Advanced Medical Reviews


                                                           SCHEDULE A: WORKFLOW, FEES AND PAYMENT SCHEDULE

                    Advanced Medical Reviews, lnc. ("AMR") will provide Independent Medical Review services as requested by Conway
                    Regional Hospital ("C/Jem"). AMR shall have no responsib.ility for any benefit of medical care decisions. All
                    determinations made by AMR nre recommendations only, and are not intended to be construed to require any pernon to have
                    or forgo medical treatment. AMR services are not substitutes for medical services.
                    Client shall submit peer review requests to AMR via fax, mail. web application or email. AMR shall maintain current
                    credentialing information for individuals who are members of the AMR Network ("Reviewers") to assure that every
                    Reviewer has a current unrestricted license as applicable. AMR shall assign each review to a Reviewer who shall be in an
                    appropriate f:pccialtyor who shall posses:. npccific knowledge appropriate to the request of the treating provider. AMR v.iill
                    post completed peer reviews to a web portal. Client will retrieve the completed reviews via the web portal.
                    MlR's services shalt be petfonned based on Client's requested tumaround times. Turnaround times are calculated from the
                    time the requ.est and all related material are received by AMR
                        •    "Turnaround 1": reviews with a requested turnaround of 5 business days' or greater
                        •    "Turnaround 2": reviews with a requested tumaround between 3 and 5 business days'
                        •    "Turnaround 3": reviews with a requested turnaround between 1 and 3 business days'
                                                                                                                                   .   \



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.                   Flat                         25+1 to SO ne:s                            $258.00                    $295.00                      $320.00
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                    Flat                         75+1to100 p~                               $320.00                    $370.00                      $400.00
                    Hourly                       l0l+tJ2S ·:·.                     $270.00 ner hour            $305.00 11cr hour           $4115.00 ncr hour
                    Reviews with up to 100 pages2, up to 3 items3, up to 0 call attempts, and with a requested turnaround greater than or equal to
                    l days 1 will be billed at the flat rates outlined above. Reviews that fall outside any of' the above parametera (i.e. reviews with
                    greater than 100 pagcs2• and/or greater thun 3 itemsl, nm.I/or requiring more than 0 calf attempti:, and/or with a rcquc~tcd
                    turnaround less than I days 1) will be billed at the hourly rat~ outlined abov~. All reyicws that fall outside the above
                    parameters and revfows with rcquiremenL<i not detailed above will be billed based the hourly rates outlined above. Reviewi:
                    thl\t exceed fair and customary standard'! may incur additional fees as mutually agreed by both parties. Any additional cost.c;
                    incurred during the review procc..;;s, such a~ shipping. will be paid for by Client. Reviews may have a maximum duration4 of
                    up to 30 busines:. days. Reviews with a duration4 that exceeds 30 business days will be charged as multiple reviews.
                    Reviews that are reopened I 0 bu:i;iness days or more after the original completion date will be charged a.~ a ncparate review.
                    Reviews that are reopened within l 0 bu.<>inesti da>'8 of the original completion date will be charged if the applicable billing
                    tier has changed.
                    AMR and Client further agree that AMR may adjust the fees set forth above upon thirty (30) days' written notice, which
                    notice may be given at any time after two (2) years following the Effective Date herein.

                                        Days arc: defined ccs "busim:ss <lc(y.)·" all dcty... L'.w.:!11di11g Saturday, Swulay cmd Federal /loliday.'>
                                        Hours tire defined as "business-day lw11rs" on all days excluding Saturday, Sunday and Federal Holidc~vs
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                                        Items: quesliuns, service under /"C'\"ic!w and/or days under review
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                                        Duration: tire lime hetwec'n whl'n " reric>w is fir.rt created and when a re\•iew is complc!tecl.far tlw last time.
                          .f
                                        Re1•iewe1:": individuals ·who ar<? memhcr.~ ofthe AMR Network



.---....            AMR will provide monthly invoices to Client. Invoices will be mailed and/or e-mailed to:
                                        Name:          Tonyn Gic>rke

                                   2950 31st St., Ste 100 Santa Monica, CA 90405                 Phone (310) 575-0900              Fax (310) 470-4717 www.admere.com
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           Advanced Medical REviEws

                          Addr1:ss:         Conway Regional Hospital
                                            2302 College A vc
                                            Conway. AR 72034
                          Phone:            501450-2495
                          Email:            ti;ierke(ti" con wayregioilal.org


          Client will be resplmsible lo make payment within thirty (30) calendar day:; of the invoice datl? ("Dm• c/"1<'"). Client agrees
          to pay AMR for all services ordered according to these tcmts. irrespective of receiving. payment from it:; client/plan provider.
          A late payment of 2% per month will be applied to the total unpaid balance on the account if full payment is not received by
          the due date. Client will mail payment to:
                          Advanced Medical Reviews. Inc.
                          2950 31"' Street Suite #100
                          Santa Monica CA 90405


          IN Wfl'NESS WHEREOF. the parties ha\·e executed this Agreement, as i;~t forth below.

          Advanced Medical Reviews                                              Conway Regional llospitn1

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          By:                                                                   By:
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          Print<!tl Name:      Vincent J. Bianco
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                                         SCHEDULE B: BUSINESS ASSOCIATE AGREEMENT

        This Business Associate Agreement ("Agreement"), is entered into in connection with the Agreement for-provision of
        medical review services ("Contract") entered into by and bct\vecn Conway Regional Hospital ("Covered Entity") and
        Advanced Medical Reviews, Inc. ("Bu~iness Associate") concurrently herewith and is effective upon execution.

                                                                   REClTALS.
                 WHEREAS, Covered Entity wishes to disclose certain information to Business Associate pursuant            10   the terms of
        the Contract, some of which may constitute Protected l lealth lnfonnation ("Pl I l"), as defined below:

                WHEREAS, Covered Entity and Bu.c;iness Associate intend to protect the privacy and provide for the sec~rity of
        PHI disclosed to Business Associate u1 compliance with the Health Immrance Portability and Accountability Act of 1966,
        Public Law 104-191 ("HlPAA"), the Health Information Technology for Economic and Clinical Health Act, Public Law 111-
        005 (the "HITECH Act") and regulations promulgated there under by the U.S. Department of Health and l luman Services
        ("HIP AA Regulations"), and other applicable laws; and

                  WHEREAS, as part of HIPAA Regulations, the Privacy Rule and Security Rule, as defined below, require that prior
        to disclosure of PHI, Covered Entity enter into a contract with Business Associate containing specific requirements set forth
        herein, including, but not limited to, 45 C.F.R. §§ t64.3 l4{a) 164.502(a) and (c), and 164.504(e);

                 THEREFORE, in consideration of the mutual promiires contained herein and the exchange of information pursuant
        to this Agreement, the parties agree as foJlows: ·
                                                           AGREEMENT
        I.       Definitions. Terms used, but nol otherwise defined, in this Agreement shall have the same meaning as set forth in
.....   regulations promulgated under HIPAA and the IIITECH Act, as amended from time to time.·                                  ·
                1.1.   Breach shall have the meaning given to.such lenn under the HITECH Act and HIPAA regulations at 42
        U.S.C § 17921and45 C.F.R. § 164.402.
                 I .2     Breach Notification Rule.shall mean the HIPAA Regulation that is codified al 45 C.f.R. Part!\ 160 and
        I 64, Subparts A and D, respectively.
                 1.3   Business -Associate shall huvc tbe meaning given to such tenn under the Privacy Rule, the Security Rule
        and the HITECH Act including, but not limited to, 42 U.S.C. § 17938 and 45 C_F.R. § 160.103.
                 1.4      Co:vcrcd Entity shall have the meaning given to such tenn under the Privacy Rule and the Security Rule
        including, but not limited to, 45 C.F.R. § .160. l 03.
                  l .5     Designated Record Set shall have the meaning given to such term under the Privacy Rule including, but
        not limited to, 45 C.F.R. § 164.501.
                 I .6     Electronic Protected Health Information means PHf that is maintained in or transmitted by electronic
        media, as described in 45 C.F.R. § 160.103 ..
                  1.7      Health Care Operations shall have the meaning given to such term in the HITECH Act including. but not
        limited to, 45 C.F.R. § 164.50 I.
                  1.8       Privacy Ruic shall mean the HIP AA privacy rules codified at 45 C.F.R., Parts 160 and 164, Subparts A
        and E, rei:;pectivcly.
                  1.9       Protected Health Information ("PHl") means any information, whether oral or recorded in any form or
        medium, that (a) relates to che pasl, present or future physical or mental condition of an individual, the provision of health
        care to an individual or the past, present or future payment for the provision of health care to an individual; {b) identifies the
        individual or, wilh respect to which, there is a reasonable basis to believe the infonnation can be used. to identify the
                                                                                                                                     *
        iuuivi<lual; and (c) has the meaning given lo :mch term under the l'rivucy Kuk: i11duui11g, l>ul 11ul li111ilc<l tu, 45 C.F.R.
        164.50 I. PIH includes Electronic Protected Health Information.
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              Advanced Medical Reviews

                        1.10     Security Incident shall have the meaning given to such term under the Security Rule including. but not
              limited to, 45 C.F.R. § 164.304.
                        1.11                    Security Rule shall mean the l IIP AA security rule codified at 45 C.F.R. Parts l60 and 164, Subparts A and
              C, rei;pcctively.                                           -                                                             .
                       1.12     Unsecured l'HI shall have the meaning given to such tenn under the HITECH Act and any guidance
              issued pursuant to such Act including, but not limited to, 42 U.S.C. § 17932(h) and 45 C.F.R. § 164.402.
              2.                 Obligations of Business Associate.
                      2.1       Permitted Uses. Business Associate shall use PHI solely for the purpose ofperfonning Business
              Associate's obligations wider the Contract and as permitted or required under the Contract. this Agreement, or as required by
              law. Further, Business Associate shall not use PHI in any manner that would constitute a violation of the Privacy Rule or the
              HlTECH Act if so used by the Covered Entity.
                        2.2      Permitted Disclosures. Business Associate shall disclose PH I only for the purpose of performing
              Bu.c;iness Associatc's obligations under the Contract and as permitted or required under the Contract, this Agreement, or as
              required by law. Business Associate shall not disclose PHI in any manner that would constitute a violation of the Privacy
              Rule or the ~TECH Act if so disclosed by the Covered Entity.
                       2.3      Prohibited Uses and Disclosures. Busine-.~ Associate shall not use or disclose PHI other than as
              pemtitted or required by the Contract, this Agreement or as required by law.
                      . 2.4     Appropriate Safeguards. Business A$ociate shall implement appropriate safeguards, and comply with
              the provisions of45 C.f.R. Part 164. Subp~rt c. with respect to electronic Pill, to prevent use or dii;closurc of Piii other than
              as provided for by this-Agreement including, but not limited to, administrative, physical and technical safoguard.c; in
              accordance with the Security Rule. Business Associate shall comply with the policies and procedures and documentation
 ----.        requiremenls of tho Security Rule including, but not limited to, 45 C.F.R. § 164.316.
                        2.S     Subcontractors and Agents. Business Associate shall ensure that any agents and subcontractors that
              create, receive, maintain or transmit PHI on behalf ofBu.-;iness Associate agree in writing to the same restrictions and
              conditions that apply to Bu.c:iness Associate with respect to such PHI and implement the safeguard<i required by Paragraph 2.4
              above,
                         2.6      Access to Protected Information. Bullincss Associate shall make PHI maintained by Busincsll Associate
              or its agents or subcontractors in Dcsig~atcd Record Sets available to the Covered Entity for in.c;pection and copying within

                                                                                                                    *
              .five (5) days of a requesl by Covered Entity to enable Covered Entity to fulfill its obligations-under California. law, Health &
              Safety Code§ 123110, and the Privacy Rule including, but not limited to, 45 C.F.R. 164.524. If Business As.c;ociatc
              maintai11s PHI in electronic: format, Business Associate i;hall provide such information in electronic format ai; necessary to
              enable Covered Entily to fulfill its obligations under the HTTECH Acl and HIP AA Re~ulations. ·
                       2. 7     Amendment of PHI. Within ten (I 0) days of a request l?Y the Covered Entity for an amcnd\ncnt of PHI or
              a record about an individual contnined in a Designated Record Set, Business Associate and its agents and subcontractors shall
              make such PHI available to tho Covered Entity for amendment and incorporate any such amendment or other documentation
              to enable Covered Entity to fulfill its obligation.c; under the Privacy Rule including, but not limited to, 45 C.F.R. § 164.526.
                                 2.8.           Accounting of Disclosures. Within ten (I 0) day:> of a request by the Covered I:::ntity for an accounting of
              di.-;closur1!1.1 of PHI, Business Associate and its agents and subcontractors shall make available to the Covered Entity the
              infom1ation required to provide an accounting of disclosureN to enable Covered Entity to fulfill its obligations under the
              Privacy Rule including. but not limited to. 4S C.F.R. § 164.528, and the IIITECH Act including, but not limited to. 42 U.S.C.
              § 17935, as detem1ined by the Covered Entity.
                                 2.8.1     Retention of Records. Business Associate nnd its agents and subcontractors shall maintain such
              accounting for at least six (6) years; provided, however, that accounting of diiiclosures from an Electronic Health Record for
              treatment, payment or health care operations purposes arc required to be maintained for at least three (3) years and only to the
              extent that the Rusiness Associ11tt" 1m1intnins an Electronic Hcnlth Record.
                                 2.8.2     Information Requirc>d. At minimum, the information collected and maintained shall include (a)
              the date of disclosure; (b) the name of the entity or person who received PHI and, if known, the address of such entity or
              person; (c) n brief description of PHI disclosed; and (d) a brief statement of purpose of the disclusure that reasonably informs

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        the individual of th<: basis for the disclosurc(s) or a copy of the individual's authorization or a copy                     or the written request for
        disclosure.
                  2.9       Governmental Access to Records. Business Associate slmll make its internal prnetices. books and records
        relating lo t11e use and disclosure of PHI uvnilnblc lo the Covered Entity and 10 the Secretary of lhc U.S. Dcpnrtment of
        Health and Human Services ("HHS") for the purpose (,f dcknnining Business t\ssociatc's compliance with HIPAA.
                 2.10    1\-llnimum Necessary. Bu·siness Associate and its ngents und subcon1rac1or:; shall request. use and dii;closc
        only the minimum amount of PHI necessary to accomplish the purpose cif the request. use or disclosure. Business Associate
        understands and agrees that the definition           or
                                                    "minimum necessary" is in 11ux and shall keep itsctr infonned of guidance
        issued by HHS with rcspccl to whnt constitutes "minimum necessary.''
                 2.J 1     Notification of Brcnch. Business A.;sociatc sbnll notify Covered Entity \Vilhin twenty.four (24) hours of
        any (a) suspected or uctunl breach of Pl II; (b) use or disclosure of PHI not penniucd by the Contracl or this Agreement: (c)
        Security Incident, including nllcmptcd or succcssfid unauthorized access. use, disclosure. modilicution or destruction of
        information or interference with system operations in an infonnntion system: and (d) actual or suspected use: or disclosure of
        data in violation of any applicable federal or state laws by Business Associate or its agents or subcontractors.
                          2.1 l.1 Contents of Notification. The notification shall include, to the extent possiblt.:. the identification
        of each individual whose unsecured PHI has been, or is reasonably believed by the Business Associate lo have been.
        accessed. acquired. used or disclosed, us well as any other available infommtion that the Covered Entity is required lo include
        in o notification to the individual, the medin, l lHS nnd any other entity under the Breach Notification Rule and any other
        applicable state or federal laws.
                 2.12      Breach Pattern or Practice by A.gents or Subcontractors. In accordance with the provisions of 42
        U.S.C. § l 7934(b) and 45 C.F.R. § 164.504, if the Business Associate knows of u pattern of activity or practice of an agent or
        subcontractor thul constitutes a material breach or violatic.1n of the agent's or subcontrnctor's obligations ns required under the
        Contract, this Agreement or other arrangement, Busincits Associate mu.c;t take rcasonnbl~ steps to cure the breach or end the
        violnlion. In the event Bwdness As:-iociate is unnble to resolve the breach of violation, Business Associate must immediately
        terminate the arrangement with said agent or sul-jcontrnctor and nolify the Covered Entity of such termination.
        3.         Obllgntiotts of Covered Entltv.
                                                                                                                                        .
                  3.1       Notification of Limitations. Covered Entity shnll notify Business Associate of nny limitation(s) in the
        Notice of Privacy Practices of Covered Entity µndcr 45 C.F.R. § 16.4.520, to the extent thnt such limitation mny nffcct
        Busine..;s As.<;0ciate's use or disclosure of PHI.                                                           .
                  3.2      Notlncatlon of Change in Authorization. Covered Entity shall notify Businc:;s Associate of any changes
        in. or revocation of. the pennission by an individual to use or disclose his or her PHI, to the extent thnt such changes mny
        nflcct Business Associate's use or disclosure of PHf.
                 3.3      Notification of Resrrktion. Covered Entity :;hull notify Business Associate of any re..;triction on the u.sc or
        disclosure of PHI tlial Covered Entity has agrei:d to Clr is required 10 abide hy under 45 C.F.R. § 164.522, 10 the extent that
        such res1ric1ion mny affec1 Business Associatc's use or disclosure of Pl-II.
        4.         Indemnification
                  4.1         If any party breaches any part of this Agrcl.'men"t. the non-breaching party shall be entitled to relief by
        appropriate legal or equitable means. Further, the parties ngrcc to mutually indemnify each other against any an<l 1111 claims,
        losses or liubiliiic:: incurred as a result of the other par!y'.s wmngful uctic>ns.
        5.         Term nnd Termination.
               5. I        Term. The term           c'r chis Agrcc1m:n1 shall be coextensive with            the tcm1 of the Comract Lo which this
        Agreement rel111e.s.
                  5.2       Material Bren ch. Any hrcad1 by Business 1\ssocinte of any provision of this Agreement shnll. n1 the
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        Contrac.t and this Agreement, any pnwision in the Contrnct lo the contrary notwithstanding .
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                           5.2. l    C'on·rcd Entity's Right of Cun-. At the expense or Business Asst,ciale. the Covered Entity shall
        have the right to cur.: any brcad1 oFthc Business Associ:itc's obligations und.:r this Al;!rcemenl. Covered Entity shall give the

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                Business Associate notice of its election to cure and Business Associate shall cooperate fully in the effort-; of Covered Entity
                to effect such cure. Payment by Business Associate lo Covered Entity for the cost of cure under this Subsection shall be
                made within thirty (30) days following Covered Entity's request for same.
                          5.3       Obligation of Business Associate Upon Termination. Upon tcnnination of this Agreement for any
                reason, Business As..,ociate shall, at the option of the Covered Entity, return or destroy all PHI that Business Associate and ics
                agent:; and subcontractors maintain in any fonn, and shall retain no copies of such PHI. rfrctum or destruction is not
                feasible, as determined by the Covered Entity. Business Associate shall continue to use appropriate safeguards ns required in
                Sectio·n 2 of this Agreement and comply with the provisions of 45 C.F.R. Part 164, Subpart C, with respect to Electronic
                Protecled lleallh Information. With respect to any retained PHI, Business Associate shall limit further u~ and disclosure of
                such PHI to those purposes that make the return or destruction of such infomiation ii~feasible.
                                  5.3.1   Notification. If Covered Entity elects destruction of the PHI, Business Associate shall certify in
                writing to the Covered Entity that such P HJ has been de.c;troyed in accordance with guidance promulgated by I II IS.
                         5.4      Survival of Obligations. The obligations of Business Associate pursuant to Subsection 5.3 shall survive
                termination of the Agreement.                                            .
                6.               General Provisions.
                          6.1     Amendment. Businesi; Associate and Covered Entity agree to cooperate in amending this Agreement to
                the extent necessary to comply with changes in law with respect to California law. HIP AA, the HITECH Act and all
                regulations promulgated there under. Notwithstanding any contrary provision in the Contract, Covered Entity may, at its
                option, tem1inate the Contract and this· Agreement upon thirty (30) days written notice in the event the parties are not able to
                agree upon an amendment.
                          6.2     Notices. Any notice required or permitted to be given hereunder shall be in writing sent either by personal
                delivery, overnight delivery, or United States registered or certified mail, r~tum receipt requested, all of which shall be
......          properly addressed, with postage or delivery charges prepaid, ro Covered Entity and Business Associate as follows:

                                 To Covered Entity:                             :lf'•M      1
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                                                     Attention:                 .,, .......... ......,
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                                 To Bu.o;iness Associate:            Advanced Medical Reviews, Inc.
                                                                    .2950 31" St., Ste 100
                                                                       Santa Monica, CA 90405

                Notices sent by personal delivery shall be deemed given upon actua1 receipt. Notices sent by overnight delivery shall be
                deemed given on the next business day. Noliccs sent _via United States registered or certified mail shall be deemed given two
                (2) business days from mailing.

                IN WITNESS WHEREOF, the partie.<; have caused this Agreement to be executed as of the Effective Date hereof.

                ADVANCED MEDICAL REVIEWS, INC.                                                  covmum ENTITY


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